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 6                           UNITED STATES DISTRICT COURT
 7                         SOUTHERN DISTRICT OF CALIFORNIA
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 9     MABVAX THERAPEUTIC                               Case No.: 18-cv-2494-WQH-AGS
       HOLDINGS, INC.,
10
       a Delaware Corporation,                          ORDER
11                                     Plaintiff,
12     v.
13
       SICHENZIA ROSS FERENCE
14     LLP, f/k/a Sichenzia Ross Ference
       Kesner LLP, f/k/a Sichenzia Ross
15
       Friedman Ference LLP; HARVEY
16     KESNER; GREGORY
       SICHENZIA; MICHAEL
17
       FERENCE; TARA GUARNERI-
18     FERRARA; MARC ROSS;
       THOMAS ROSE; RICHARD J.
19
       BABNICK, JR.; DAVID B.
20     MANNO; AVITAL EVEN-
       SHOSHAN PERLMAN; and
21
       DOES 1 THROUGH 10, inclusive,
22                                  Defendants.
23
      HAYES, Judge:
24
            The matters before the Court are the motion to dismiss or transfer venue filed by
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      Defendant Harvey Kesner (ECF No. 28) and the motion to dismiss or transfer venue filed
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      by the remaining Defendants (ECF No. 27).
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28                                                                          18-cv-2494-WQH-AGS
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 1       I.      BACKGROUND
 2            On September 10, 2018, Plaintiff MabVax Therapeutics Holdings, Inc. initiated this
 3    action by filing a Complaint in the Superior Court of California for the County of San
 4    Diego, case number 37-2018-00045609-CU-PN-CTL, against Defendant Harvey Kesner
 5    (Defendant Kesner); Defendants Sichenzia Ross Ference LLP, Gregory Sichenzia, Michael
 6    Ference, Tara Guarneri-Ferrara, Marc Ross, Thomas Rose, Richard J. Babnick, Jr., David
 7    B. Manno, and Avital Even-Shoshan Perlman (Sichenzia Defendants); and doe defendants.
 8    Plaintiff MabVax brings claims for negligent professional practice, breach of fiduciary
 9    duty, breach of contract, restitution for unjust enrichment, deceit, and fraud, on the grounds
10    that Defendants failed to disclose conflicts of interest, failed to maintain client
11    confidentiality, and failed to provide proper legal advice on financial reporting
12    requirements. Plaintiff MabVax alleges that conflicts of interest existed because the
13    Defendants held investments in MabVax and had relationships with MabVax’s other
14    investors, which were not fully disclosed. Plaintiff MabVax further alleges that Defendants
15    disclosed confidential MabVax information to other investors, to MabVax’s disadvantage.
16    Plaintiff MabVax alleges that Defendants provided improper legal advice on reporting
17    requirements for investors, causing MabVax to disclaim reliance on prior SEC filings,
18    causing Nasdaq to delist MabVax, and causing MabVax to suffer other related economic
19    and reputational injuries. Plaintiff MabVax seeks relief including damages and an order
20    requiring Defendants to make a full disclosure and accounting of their interests and
21    transactions in MabVax securities.
22            On October 30, 2018, Defendants removed the Complaint to this Court based on
23    diversity jurisdiction. (ECF No. 1). On October 30, 2018, Defendants filed the first
24    amended notice of removal. (ECF No. 2). On October 31, 2018, Defendants filed the
25    second amended notice of removal. (ECF No. 3). On November 2, 2018, Defendants filed
26    the third amended notice of removal, the operative Complaint in this action. (ECF No. 6).
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 1             On November 30, 2018, the Sichenzia Defendants filed a motion to dismiss for
 2    personal jurisdiction pursuant to Rule 12(b)(2) and failure to state a claim pursuant to Rule
 3    12(b)(6); and, in the alternative, a motion to transfer venue to the Southern District of New
 4    York pursuant to 28 U.S.C. § 1404(a). (ECF No. 27).
 5             On December 3, 2018, Defendant Kesner filed a motion to dismiss for personal
 6    jurisdiction pursuant to Rule 12(b)(2) and, in the alternative, a motion to transfer venue to
 7    the Southern District of New York pursuant to 28 U.S.C. § 1404(a). (ECF No. 28).
 8             On January 14, 2019, Plaintiff MabVax filed a response in opposition to both
 9    motions to dismiss. (ECF No. 29).
10             On February 4, 2019, the Sichenzia Defendants filed a reply in support of the motion
11    to dismiss (ECF No. 30) and a motion to strike (ECF No. 30-1).
12             On February 4, 2019, Defendant Kesner filed a reply in support of his motion to
13    dismiss. (ECF No. 31).
14             On February 5, 2019, Plaintiff MabVax filed a response in opposition to the motion
15    to strike. (ECF No. 32).
16       II.      ALLEGATIONS OF THE COMPLAINT
17             Plaintiff MabVax is “is a clinical-stage biotechnology company that is developing
18    treatments for certain insidious cancers . . . founded in San Diego more than a decade ago.”
19    (Ex. 1 to Third Am. Notice of Removal ¶ 1, ECF No. 6 at 8). Plaintiff MabVax is “a
20    Delaware corporation, with its principal place of business in San Diego County,
21    California.”     Id. ¶ 16.     Plaintiff MabVax “cannot earn product revenue” before
22    “complet[ing] clinical trials, obtain[ing] regulatory approval and successfully
23    commercializ[ing] one or more of its products.” Id. ¶ 2. Plaintiff MabVax depends on
24    “debt and equity financing” through “[u]nfettered access to the public capital markets.” Id.
25             “Defendant Sichenzia Ross Ference LLP” (the Firm), “is a limited liability
26    partnership with its principal place of business in New York County, New York.” Id. ¶ 17.
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 1    Defendants Harvey Kesner, Gregory Sichenzia, Michael Ference, Tara Guarneri-Ferrara,
 2    Marc Ross, Thomas Rose, David Manno, Richard Babnick, and Avital Perlman are
 3    attorneys and partners of the Firm. Id. ¶¶ 18–26. Plaintiff engaged the Firm “and its team,
 4    led by [Defendant Kesner], as its counsel for securities reporting matters” for three years.
 5    Id. ¶¶ 3–4. Before entering a relationship with Plaintiff MabVax, the Firm represented
 6    “certain of Plaintiff’s largest investors,” including “Barry Honig . . . John Stetson, Phillip
 7    Frost, Mark Groussman, and Michael Brauser, as well as Defendants Sichenzia, Kesner,
 8    and Ference and many entities affiliated or controlled by those individuals” (the Investors).
 9    Id. ¶ 4 & n.4.
10          In March 2015, two Investors, Honig and Stetson, introduced Defendant Kesner to
11    Plaintiff MabVax and recommended Kesner’s services for “the preparation and filing of
12    [Plaintiff’s] SEC filings, and on related corporate matters.” Id. ¶ 30. At the time of the
13    introduction, “the Investors were negotiating the terms under which they would make
14    certain investments into [Plaintiff].” Id. ¶ 31. On March 12, 2015, after the introduction,
15    Stetson sent Plaintiff MabVax “the term sheet for the investments that explicitly required,
16    as a condition of the financing, that [Plaintiff] ‘engage the firm with which Harvey Kesner,
17    Esq. is associated . . . for corporate and [sic] securities for a minimum of 12 months period
18    [paid in advance] following closing.’” Id.
19          On April 2, 2015, Plaintiff MabVax executed an engagement letter with the Firm for
20    “general corporate securities matters, including matters related to ongoing SEC reporting.”
21    Id. ¶ 32. The engagement letter included a provision “not[ing] that [the Firm] had
22    represented Honig, Stetson, and another Investor, Groussman, as well as certain associated
23    companies or investment entities.”       Id.   The letter permitted the Firm to continue
24    representing those clients but did “not permit [the Firm] to represent any interests that may
25    be directly adverse to [MabVax] that involve matters substantially related to the services
26    for which [MabVax] retained [the Firm].” Id.
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 1          Since 2009, “[the Firm] and [Defendant Kesner] have been inserted as counsel to at
 2    least 22 other companies (i.e., other than MabVax), in which Honig and/or Stetson has
 3    invested.” Id. ¶ 38. Defendant Kesner manages and controls the securities held by entities
 4    including: Paradox Capital Partners, LLC; Darwin Investments, LLC; Darwin Retirement
 5    Investments, LLC; Darwin Ret LLC; Denville and Dover Fund LLC. Id. ¶ 40. “Through
 6    these entities,” Defendant Kesner, the Firm, or both, “invested in at least 16 companies
 7    alongside Honig and various other Investors,” including: Marathon Patent Group Inc.; Riot
 8    Blockchain Inc.; Majesco Entertainment Co.; Orbital Tracking Corp.; Viveve Medical,
 9    Inc.; Spiral Energy Tech., Inc.; BTCS Inc.; Cell Source, Inc.; Pershing Gold Corporation;
10    AV Therapeutics, Inc.; Spherix Incorporated (where Kesner served as CEO and director
11    while a partner at the Firm); Northern Wind Energy Corp.; Document Security Systems,
12    Inc.; Passport Potash Inc.; MusclePharm Corporation; and Bullfrog Gold Corp. Id. ¶ 40 &
13    n.10. Defendant Kesner invested in Plaintiff MabVax “through Paradox and Darwin
14    Retirement,” “by directly investing in [MabVax] through financings; by receiving 185,000
15    free shares as a condition to financing required by another one of the Investors; and by
16    receiving, on at least one other occasion from at least one other Investor, a distribution of
17    50,000 shares.” Id. ¶ 41. Defendant Kesner solicited the investment of Defendant Ference.
18    Id.
19          “[T]hroughout [the Firm’s] representation,” Plaintiff MabVax was subject to a
20    Consent Right that required “the Consent Right holder’s permission before [MabVax]
21    could raise additional money (such as any equity or debt financing).” Id. ¶ 48. The Consent
22    Right gave the holder authority to block investment from outside sources—financing that
23    Plaintiff MabVax heavily depends on as a clinical-stage biotechnology company. Id. ¶ 49.
24    In 2015, in exchange for permission to seek outside funding, Plaintiff MabVax issued the
25    Investors $9.6 million in stock and “hire[d] lawyers and other vendors handpicked and
26    controlled by Investors.” Id. Defendants were beneficiaries of the Consent Right, which
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 1    was not disclosed to Plaintiff MabVax. Id. ¶ 51. Defendants did not advise that Plaintiff
 2    MabVax “had the right to negotiate for greater transparency in how the Consent Right was
 3    held and . . . for greater limitations on its use.” Id. Defendants did not inform Plaintiff that
 4    “the facts and circumstances of the ownership and use of the Consent Right could
 5    themselves create questions about the calculation and reporting of the beneficial ownership
 6    of the Investors.” Id.
 7          During the first week of December 2015, Plaintiff MabVax’s leadership team
 8    discovered that Southern Biotech—whose president and controlling shareholder was
 9    Honig, and who was “the Investors’ then-designated official holder of the Consent
10    Right”—“had transferred certain shares that it was required to hold in order to maintain the
11    Consent Right.” Id. ¶¶ 52, 54. “MabVax urgently emailed Defendants Kesner and
12    Guarneri-Ferrara” for “confirm[ation] that MabVax was finally free of the onerous Consent
13    Right.” Id. ¶ 54. “MabVax explicitly instructed Kesner and Guarneri-Ferrara to avoid
14    alerting Southern Biotech,” stating, “please hold back sending the consent to Southern
15    Biotech[.]’” Id. Plaintiff MabVax “did not want to prematurely alert the Investors that
16    they had inadvertently terminated the Consent Right—and thus lost their significant
17    leverage.” Id.
18          Instead, Kesner and Guarneri-Ferrara deliberately disregarded the Company’s
            instructions. The next day, Kesner emailed Guarneri-Ferrara (with the subject
19
            line MabVax): “Approval of investments Does Southern Bio have or the
20          transferees from SB?” Guarneri-Ferrara replied that she would “need to see
            the docs by which he [i.e., Honig] sold or assigned his shares[.]” “Ask for,”
21
            Kesner replied . . . . “OK,” Guarneri-Ferrara responded. The next day, Stetson
22          emailed Guarneri-Ferrara a copy of the relevant language. . . .
            Later that day, MabVax heard directly from Honig that the shares that had
23
            been transferred out of Southern Biotech would be transferred back to
24          Southern Biotech—thereby creating a potential argument that Southern
            Biotech had reestablished the Consent Right. In a second email, Honig
25
            thanked MabVax’s leadership for “the heads up regarding Southern Biotech,”
26          and stated that the shares upon which the Consent Right relied were “back in[]
            Southern Biotech.” . . . The Company had never discussed the issue with
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 1          Honig, much less given him a “heads up” that the Consent Right had
            terminated to MabVax’s great benefit and relief. . . .
 2
            MabVax’s CEO replied to Honig saying, “I did not give you the heads up on
 3          Southern Biotech. You already realized that you had transferred all shares out
            of that entity. Someone else must have alerted you.” . . . [O]nly after . . . did
 4
            Kesner address the matter with MabVax—not to help his client, but to declare
 5          that a never-explained ethical conflict meant that he and his law firm could
            not become involved in the dispute over whether the Consent Right had been
 6
            terminated.
 7
      Id. ¶¶ 55–57. In early January 2016, Plaintiff MabVax sought the Firm’s advice regarding
 8
      new financing and the corresponding consents necessary under the Consent Right. Id. ¶
 9
      59. Defendants’ internal emails “expressed concern about ‘[the Firm’s] conflict’ with
10
      respect to the issue” and discussed the possibility that the Consent Right terminated when
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      Southern Biotech transferred its shares. Id. ¶¶ 59–60. Defendant Kesner “promptly replied
12
      ‘Here is my suggestion. Have Southern Bio itself amend the agreement with MabVax to
13
      simpl[y] terminate the Southern Bio right and provide a new approval right to Barry
14
      personally. Much simpler. Don’t discuss the below specifically with Greg [MabVax’s
15
      CFO].’” Id. ¶ 60. Defendants did not inform Plaintiff of the possible position that the
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      Consent Right terminated when Southern Biotech transferred its shares. Id. On January
17
      12, 2016, unaware of the position, Plaintiff “agreed . . . to provide Southern Biotech with
18
      a new Consent Right.” Id. ¶ 61.
19
            “During the course of the representation, the Investors repeatedly purchased
20
      convertible preferred stock from MabVax pursuant to contracts and public filings advised
21
      by Sichenzia and Kesner.” Id. ¶ 65. A convertible preferred shareholder could, on request,
22
      convert convertible preferred shares “into shares of common stock that could be
23
      immediately sold on the open market.” Id. The convertible preferred shares were “subject
24
      to ‘beneficial ownership blockers’ that forbade the conversion of preferred shares into
25
      common stock if, as a result, the converting shareholder would beneficially own more than
26
      a certain percentage of MabVax (most often, 4.99%).” Id.
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 1          The securities laws require certain disclosures when any person is a beneficial owner
 2    of “five percent of a class of any registered equity security of an issuer.” Id. ¶ 43. Persons
 3    who “act together as a group in connection with investment in a company are treated as a
 4    ‘person’ for purposes of this reporting requirement.” Id. The Investors acted together as a
 5    group within the meaning of the securities laws in the following ways: investing together
 6    in dozens of companies; coordinating amounts each Investor would invest in those
 7    companies; consulting with one another regarding collective recommendations or demands
 8    for those companies; including other Investors on communications with those companies;
 9    installing certain of the Investors as directors or officers or counsel in those companies;
10    and coordinating meetings and introductions between those companies and third parties—
11    such as institutional investors, investor relations firms, and potential strategic transaction
12    partners—and often requiring investee companies to retain Investor-selected advisors; and
13    a single lead investor coordinating investments for the others. Id. ¶¶ 44, 46.
14          “Kesner advised MabVax throughout the engagement that the ‘blockers’ operated
15    as a legal barrier against any need to aggregate or report the beneficial ownership of the
16    Investors as reaching 5%. He also advised that the blockers allowed for one Investor to
17    convert shares without regard to the ownership of MabVax stock by other Investors.” Id.
18    ¶ 66. The Firm and Defendant Kesner “assured MabVax that the ‘ownership blockers’ . .
19    . were a legal firewall against the formation of any group such that other factors . . . did not
20    matter.” Id. ¶ 46. “[T]his advice was false. The blockers do not legally foreclose a
21    determination that the Investors (or some of them) may be deemed as having acted as a
22    previously undisclosed group. [T]he test to determine whether investors are part of a 13D
23    Group is a multi-factor test and courts can and do find a group to exist notwithstanding the
24    existence of beneficial ownership blockers.” Id. ¶ 66.
25          Defendant Kesner knew “of his and the other Investors’ practices and inter-
26    relationships” and did not advise Plaintiff MabVax “of the significant risk that the Investors
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 1    would be deemed a ‘group’ under the securities laws” or the economic and reputational
 2    consequences of undisclosed investors possibly satisfying the definition of a group. Id. ¶
 3    45. The Firm and Defendant Kesner “repeatedly advised MabVax that the Investors were
 4    not a group for purposes of the securities laws, and they made sure that [MabVax’s] public
 5    filings disaggregated the Investors’ holdings.” Id. ¶ 46. The Firm, primarily through
 6    Defendant Kesner, “reviewed, edited and approved literally dozens of SEC filings over
 7    three years—many reporting the Investors’ beneficial ownership and outstanding share
 8    counts—without even once suggesting there was any risk that the Investors could be
 9    considered a group, or that it would be in [MabVax’s] interest to aggregate the Investors’
10    individual holdings for purposes of beneficial ownership reporting in these filings.” Id.
11    The Firm “suggest[ed] that [MabVax] had a contractual obligation to disaggregate the
12    Investors’ ownership.” Id. Defendant Kesner “suggested that [MabVax] may have
13    violated its obligations to the Investors by even publicly suggesting that a question could
14    exist” regarding whether any Investors qualified as a group. Id.
15          “In December 2016, MabVax received a request for information from a regulator in
16    connection with a non-public investigation into trading activity in MabVax stock.”
17    Plaintiff MabVax sent the inquiry and “a draft response prepared by non-lawyers” to the
18    Firm. Id. ¶¶ 62–63. Defendant Kesner “advised MabVax that the regulator’s request was
19    a routine inquiry and nothing to be concerned about,” and criticized the draft response “as
20    ‘far too inclusive.’” Id. ¶ 63. Defendant Kesner “personally edited the response in a
21    manner he advised was appropriate under the circumstances,” but later “expose[d]
22    [Plaintiff] to claims that its response was misleading or, at least, difficult to defend.” Id.
23    “For example, in response to a question about the nature and frequency of MabVax’s
24    contact with two of the Investors, Kesner characterized the contact as ‘occasional.’” Id.
25          [I]n September 2017, an examiner for Nasdaq emailed an associate at [the
            Firm] (“Associate One”) asking for the name of “an investor” whom
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            Associate One had stated was being issued 100,000 shares “for diligence.”
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 1         Associate One emailed Defendants Kesner and Perlman, stating “The nasdaq
           examiner is asking for . . . Barry’s name [i.e., Honig]. The attached list
 2
           indicates he is not an investor though. Do you have any issue with me
 3         releasing his name?” Perlman replied, to Kesner only, “Maybe the 100,000
           diligence shares should be issued to HSC, which did invest.” HSC refers to
 4
           HS Contrarian Investments, LLC, an entity purportedly controlled by Stetson.
 5
     Id. ¶ 67. “In late January 2018, MabVax disclosed that it had received notice that the SEC
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     was conducting an investigation . . . .” Id. ¶ 70. On February 2, 2018, the SEC issued a
 7
     subpoena.    Id.   “MabVax believes that [the] investigation pertains to MabVax’s
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     relationship with certain of its investors, including whether or not they have acted as an
 9
     undisclosed control group in connection with MabVax, and the manner in which they may
10
     have sought to control or influence MabVax.” Id.
11
           “On February 16, 2018, CNBC published a highly critical article about Riot
12
     Blockchain” that identified Honig and stated: “SEC filings suggest that when Honig began
13
     his charge to take over the board, he was represented by lawyer Harvey Kesner of Sichenzia
14
     Ross Ference Kesner LLP. A few months later, Kesner’s law firm appears on Riot
15
     Blockchain’s SEC filings. Kesner’s company, Paradox Capital Partners LLC, owns Riot
16
     stock, according to SEC filings. When reached by phone, Kesner said he didn’t know
17
     anything about Riot Blockchain and Barry Honig and hung up.” Id. ¶ 71. “After her call,
18
     the CNBC reporter sent Kesner an email noting that Kesner’s ‘company, Paradox Capital
19
     owns shares in Riot. Your partner Michael Ference also owns shares.’” Id. ¶ 72.
20
           That email was ultimately forwarded to, among others, Defendants Gregory
21
           Sichenzia, Ross and Ference. . . . Ference asked Gregory Sichenzia, “Does he
22         have any other subpoenas?” Gregory Sichenzia replied “Yes mabvax 2 weeks
           ago. [A class action law firm] just filed for plaintiffs in a class action against
23
           riot. This is going to be real bad.” . . . In a separate thread of the same email
24         chain, Ross wrote to Ference that Kesner was planning to threaten a lawsuit
           against CNBC. He added, “[a]nd did you know the SEC issued a formal order
25
           of investigation against Mabvax in January 28th?” “Figures,” Ference replied,
26         “Bad idea.” . . .
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 1          In a separate email, Ference replied to Ross “We need a protocol of subpoena
            to form comes in it has to be given to exec comm. no one should get a
 2
            subpoena and handle themselves without talking to us.” Ross responded to
 3          Ference: “Ha. Harvey and Greg [Sichenzia] are on the executive [] committee,
            you know, unless Greg gets his way, as he doesn’t want us to continue to
 4
            represent Barry [Honig], as the noose gets tighter.”
 5
     Id. ¶¶ 72–74. On February 16, 2018, Defendant Ross emailed Defendant Sichenzia: “I
 6
     spoke with Harvey. He got this below email from the [CNBC] reporter before today. I am
 7
     looking at the Mabvax subpoena that [a Sichenzia junior associate (hereafter, “Associate
 8
     Two”)] is working on for Harvey.” Id. ¶ 75. Defendant Sichenzia responded, “He should
 9
     have let us know instead of being blindsided.” Id.
10
            On March 7, 2018, an online article stated: “A small army of writers, both real and
11
     imaginary, has produced nearly 600 bullish articles about companies backed by financier
12
     Barry C. Honig,” that “[m]any of the featured stocks fell sharply after reaching promotion-
13
     fueled highs,” that “[t]hose names included VBI Vaccines, 22nd Century Group, U.S. Gold
14
     Corp., Vuzix, Mabvax Therapeutics and Global Blockchain Technologies,” and that “[t]he
15
     articles and the methods employed are nearly identical to those that led the SEC to charge
16
     27 individuals and entities last year . . . .” Id. ¶ 77. “That same day, Gregory Sichenzia
17
     forwarded a link to the article to Rose, stating ‘Just awful did u read.’ In a subsequent email
18
     in the chain, Gregory Sichenzia wrote that the article, ‘mentions every one of Harvey
19
     clients he has ever had.’ ‘Pretty much,’ Rose replied.” Id.
20
            “On April 14, 2018, Kesner sent MabVax an email proposing an additional project
21
     in response to the SEC investigation—that MabVax should file an administrative challenge
22
     against the SEC to allow it to register even more shares for the benefit of the Investors.”
23
     Id. ¶ 79.
24
            Associate Two was copied on the email and forwarded it to Ross. Ross replied
25
            to Associate Two, “He’s lost his mind.” Ross then forwarded the chain to Rose
26          with the commentary, “This is nutz.” In a subsequent email in the chain, Ross
            wrote to Rose that “Honig [is] the subject of the enforcement inquiry. The
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 1         only thing for the company to do is to throw Barry under the bus, how in G-
           d’s name can Harvey be advising this company. And I found out on Friday
 2
           that is Babnick didn’t want to be involved, and [Associate Two] was left to
 3         flounder and have to deal with Harvey on his own.” . . .
           On April 17, 2018, Associate Two . . . emailed Ross about an SEC request for
 4
           on-the-record testimony from a top MabVax executive. Associate Two stated
 5         that “Harvey threw out the idea of me going alone . . . I don’t mind going with
           someone else, but I have never defended a witness at an OTR/deposition by
 6
           myself.” Ross forwarded the email to Babnick with the comment: “Might be
 7         a conflict now, no?” “No. Let’s discuss tomorrow,” Babnick replied.
 8
     Id. ¶¶ 79–80.
 9
           The Firm “did not acknowledge its intractable conflicts and withdraw from
10
     representation until late May 2018—after wasting MabVax’s money and six months during
11
     which competent counsel would have assisted the Company in responding to the SEC
12
     investigation.” Id. ¶ 82. On May 21, 2018, Defendant Ross advised Defendant Kesner: “I
13
     wouldn’t think it would be a good idea for you to meet and speak with [successor counsel],
14
     both from a firm perspective and from your individual perspective.” Id. ¶ 83. On May 22,
15
     2018, Defendant Kesner met with successor counsel and “repeatedly made false and
16
     misleading statements . . . for example . . . denying that he was involved in MabVax’s
17
     response to the December 2016 request for information from a regulator,” “denying that
18
     the Company was required to hire Sichenzia and Kesner as condition of the Investors’
19
     investment); inaccurately characterizing . . . the very “blocker” firewall theories that
20
     created the exposure in the first instance; and refusing to disclose his outside trading
21
     activity in MabVax stock.” Id.
22
           Associate One and Associate Two engaged in an instant message conversation
23         shortly after Associate Two met with successor counsel, at Kesner’s request.
           In the instant message conversation, Associate Two recounted how he under-
24
           disclosed facts to successor counsel in an attempt to steer successor counsel
25         away from the Investors and [the Firm]. Associate Two recounted his sense
           that: “the guy [i.e., successor counsel] was wavering between ‘this is a real
26
           clusterfuck’ to ‘they are prob looking at the investors . . .” and stated that “its
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 1           [sic] tough for me because like wtf do I say?” Associate Two then
             acknowledged that “i can sell the investors down the river” . . . . Instead,
 2
             Associate Two explained, in speaking with successor counsel, he limited his
 3           assessment of the investigation to what the SEC had put in writing, i.e. “i was
             like 100 percent looking at the investors, that’s obvious based on the
 4
             subpoena.” “[R]ight,” Associate One responded, “you have to juggle what to
 5           say without this guy thinking holy shit this idiot firm[.]”
 6
     Id. ¶ 84. During the transition to successor counsel, Defendant Kesner “alerted the
 7
     Investors of a sensitive meeting with successor counsel within ninety (90) minutes of
 8
     successor counsel leaving his office.”          Id. ¶ 85.   The Firm and Defendant Kesner
 9
     “demand[ed] that MabVax pay a large legal fee as a condition of responding to successor
10
     counsel’s questions” and later withdrew the condition, “instead simply refusing to provide
11
     any additional information . . . .” Id. ¶ 86.
12
             After Plaintiff MabVax discovered that the beneficial ownership blockers did not
13
     preclude the Investors from qualifying as a 13D group, “MabVax became concerned about
14
     the validity of the 2,628,766 shares of common stock issued to the Investors via preferred
15
     share conversions.” Id. ¶ 68. In addition, Plaintiff MabVax “could not be certain that its
16
     previous reports regarding the number of common shares outstanding were accurate” and
17
     “had to publicly disclaim reliance on four years of previously filed SEC reports and
18
     financial statements and is unable to file reports for 2018 as it is required to do under SEC
19
     and Nasdaq rules.” Id. “Under these circumstances . . . MabVax has been delisted from
20
     the Nasdaq, and has been named in putative class actions filed by certain of its
21
     shareholders.” Id. “Additionally, in order to clear the cloud over its capitalization table,
22
     MabVax . . . file[d] a petition in the Delaware Chancery Court seeking . . . judicial
23
     validation of the unknown number of shares of arguably invalid common stock, and other
24
     corporate acts that also may not be valid as a result of Defendants’ false legal advice.” Id.
25
     ¶ 69.
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 1         “During the period of its representation, [the Firm] charged MabVax roughly
 2   $1,600,000 . . . .” Id. ¶ 87. “[A]s an investor in MabVax, Kesner, through Paradox and
 3   Darwin Retirement, received shares of convertible preferred stock.” Id. ¶ 88. The Firm
 4   and Defendant Kesner “allowed Investors to convert 2,628,766 shares (for a market value
 5   at issuance of an estimated $22,200,000 based on the closing price of common stock on
 6   the date of conversion).” Id. “Kesner himself received, through conversions requested by
 7   Paradox and Darwin Retirement, at least 22,980 shares of MabVax common stock (valued
 8   at $92,969) for his own personal benefit.” Id. “To this day, MabVax does not know the
 9   full extent of [the Firm], Kesner, and Ference’s trading in MabVax stock, despite having
10   asked repeatedly.” Id. ¶ 89. “[The Firm] and [Defendant Kesner] have never disclosed the
11   circumstances under which Kesner initially and subsequently invested in MabVax . . . .”
12   Id. ¶ 42. “Defendants . . . did not disclose the full extent of their relationships with other
13   Investors.” Id. ¶ 34. At no time before or during the representation “did Defendants ever
14   inform [Plaintiff] that the Investors had previously inserted [the Firm] and [Defendant
15   Kesner] as company counsel for other companies in which the Investors had invested.” Id.
16   ¶¶ 34–35. Defendant Kesner did not “disclose the circumstances under which he had
17   invested in [Plaintiff] and [the other companies] in coordination with other Investors.” Id.
18   ¶ 34. Defendants did not disclose any basis “upon which [Plaintiff] could assess whether
19   a waiver was in [Plaintiff’s] interest or . . . whether [the Firm’s] representation of and
20   relationship with the Investors was in fact ‘substantially related to’ or ‘adverse to’
21   [Plaintiff’s] interests.” Id. “Had such matters been honestly disclosed,” Plaintiff would
22   not have retained or continued to rely on the Firm. Id. ¶¶ 34–35.
23         Plaintiff seeks relief including damages and a “full disclosure and accounting of
24   [Defendants’] interests and transactions in Plaintiff’s securities, whether transacting in
25   their own names or with respect to transactions undertaken through entities, nominees or
26   other Investors.” Id. at 44.
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 1      III.   PERSONAL JURISDICTION
 2         A party may move for dismissal for lack of personal jurisdiction pursuant to Fed. R.
 3   Civ. P. 12(b)(2). “In opposition to a defendant’s motion to dismiss for lack of personal
 4   jurisdiction, the plaintiff bears the burden of establishing that jurisdiction is proper.”
 5   Boschetto v. Hansing, 539 F.3d 1011, 1015 (9th Cir. 2008). “Where . . . the defendant’s
 6   motion is based on written materials rather than an evidentiary hearing, the plaintiff need
 7   only make a prima facie showing of jurisdictional facts to withstand the motion to dismiss.”
 8   Mavrix Photo, Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1223 (9th Cir. 2011) (citation
 9   omitted), abrogated on other grounds as recognized by Axiom Foods, Inc. v. Acerchem
10   Int’l, Inc. 874 F.3d 1064 (9th Cir. 2017)). “The plaintiff cannot ‘simply rest on the bare
11   allegations of its complaint,’ but uncontroverted allegations in the complaint must be taken
12   as true.” Id. (quoting Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th
13   Cir. 2004)). “[W]e may not assume the truth of allegations in a pleading which are
14   contradicted by affidavit . . . but we resolve factual disputes in the plaintiff’s favor.” Id.
15   (quotation and citation omitted).
16         “Federal courts apply state law to determine the bounds of their jurisdiction over a
17   party.” Axiom, 874 F.3d at 1067 (quotation omitted). “California authorizes its courts to
18   exercise jurisdiction to the full extent that such exercise comports with due process. . . .
19   Accordingly, the jurisdictional analyses under [California] state law and federal due
20   process are the same.” Id. (quotations omitted); see also Cal. Civ. Proc. Code § 410.10
21   (“A court of this state may exercise jurisdiction on any basis not inconsistent with the
22   Constitution of this state or of the United States.”). A defendant may be subject to either
23   general or specific personal jurisdiction under due process analysis. See Helicopteros
24   Nacionales de Columbia, S.A. v. Hall, 466 U.S. 408, 414 (1984).
25         In this case, Plaintiff MabVax contends that the exercise of specific personal
26   jurisdiction is proper over Defendants. A court exercises specific personal jurisdiction if
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 1   “the cause of action arises out of or has a substantial connection to the defendant’s contacts
 2   with the forum.” Glencore Grain Rotterdam B.V. v. Shivnath Rai Harnarain Co., 284 F.3d
 3   1114, 1123 (9th Cir. 2002) (citing Hanson v. Denckla, 357 U.S. 235, 251 (1958)). “A
 4   nonresident defendant must have ‘certain minimum contacts with [the forum] such that the
 5   maintenance of the suit does not offend traditional notions of fair play and substantial
 6   justice.’” Axiom, 874 F.3d at 1068 (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310,
 7   316 (1945)).
 8         “[A] defendant’s relationship with a plaintiff or third party, standing alone, is an
 9   insufficient basis for jurisdiction.” Id. (quoting Walden v. Fiore, 571 U.S. 277, 286
10   (2014)). “While ‘a single act can support jurisdiction,’ the act must first ‘create[ ] a
11   substantial connection with the forum.’ . . . Put differently, ‘some single or occasional acts
12   related to the forum may not be sufficient to establish jurisdiction if their nature and quality
13   and the circumstances of their commission create only an attenuated affiliation with the
14   forum.’ . . . A defendant’s ‘random, fortuitous, or attenuated contacts’ will not suffice.” Id.
15   (first quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476 n.18 (1985), then quoting
16   Walden, 571 U.S. at 286).
17         “[F]or a court to exercise specific jurisdiction over a nonresident defendant: (1) the
18   defendant must either purposefully direct his activities toward the forum or purposefully
19   avail himself of the privileges of conducting activities in the forum; (2) the claim must be
20   one which arises out of or relates to the defendant’s forum-related activities; and (3) the
21   exercise of jurisdiction must comport with fair play and substantial justice, i.e. it must be
22   reasonable.” Id. (quotations and alteration omitted). “The plaintiff bears the burden of
23   satisfying the first two prongs of the test,” and “[i]f the plaintiff meets that burden, the
24   burden then shifts to the defendant to present a compelling case that the exercise of
25   jurisdiction would not be reasonable.” Id. (quotations omitted). “A purposeful availment
26   analysis is most often used in suits sounding in contract. . . . A purposeful direction
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 1   analysis, on the other hand, is most often used in suits sounding in tort.” Schwarzenegger,
 2   374 F.3d at 802; but see Freestream Aircraft (Bermuda) Ltd. v. Aero Law Grp., 905 F.3d
 3   597, 606 (9th Cir. 2018) (concluding that the effects test of purposeful direction does not
 4   apply “where an intentional tort is committed within the forum state”).
 5         A. Purposeful Availment
 6         The Sichenzia Defendants contend that purposeful availment analysis governs
 7   personal jurisdiction in this case because only some of Plaintiff’s claims sound in tort and
 8   all of Plaintiff’s claims arise from the retainer agreement with Defendants. The Sichenzia
 9   Defendants assert that the Firm did not market legal services in California; is not
10   incorporated or qualified to do business in California; has no employees, phone, fax,
11   address, post office box, bank account, or agent for service of process in California; and
12   pays no taxes in California. The Sichenzia Defendants assert that the Firm’s operations,
13   and all conduct alleged to be wrongful in this case, occurred in New York. The Sichenzia
14   Defendants assert that the Firm did not have a long-term business relationship with Plaintiff
15   or perform legal services in California.
16         The Sichenzia Defendants contend that the jurisdictional contacts of Defendant
17   Kesner cannot be imputed to the other individual partner Defendants. The Sichenzia
18   Defendants assert that the California contacts of the individual Sichenzia Defendants are
19   nonexistent or tangential, because some were not involved in Plaintiff’s representation and
20   others provided legal services from New York.
21         Defendant Kesner contends that Plaintiff must show purposeful direction and
22   purposeful availment to establish California jurisdiction. Defendant Kesner asserts that he
23   did not travel to California or meet with Plaintiff’s representatives for the purpose of
24   soliciting legal work for Plaintiff. Defendant Kesner asserts that Kesner met Plaintiff in
25   California twice before Plaintiff engaged the Firm, during meetings that “pertained to third-
26   party representation.” (ECF No. 28-1 at 20). Defendant Kesner asserts that Kesner met
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 1   with Plaintiff in California once after Plaintiff engaged the Firm, “for social purposes over
 2   lunch while Kesner was in California attending a conference.” Id. Defendant Kesner
 3   asserts that the California meetings are too attenuated to demonstrate specific jurisdiction.
 4   Defendant Kesner asserts that he performed no legal services for Plaintiff in California,
 5   and that Plaintiff engaged California counsel for local matters. Defendant Kesner asserts
 6   that Kesner’s emails and phone calls to Plaintiff in California did not invoke the benefits
 7   and protections of California or promote the transaction of business within California.
 8   Defendant Kesner contends that specific jurisdiction cannot be grounded in the engagement
 9   agreement, which was not entered in California. Defendant Kesner asserts that no final,
10   binding agreement required Plaintiff to retain Defendant Kesner or the Firm as counsel as
11   a condition of investment.
12            Plaintiff MabVax contends that the purposeful direction analysis governs personal
13   jurisdiction because there are multiple tort claims in addition to the contract claim in this
14   case. Plaintiff MabVax contends that either purposeful direction or purposeful availment
15   satisfies the first prong of the specific jurisdiction test. Plaintiff MabVax contends that the
16   purposeful availment analysis is satisfied in this case because Kesner attended two
17   meetings in California before MabVax engaged the Firm. Plaintiff MabVax asserts that
18   Kesner solicited MabVax to retain the Firm because Kesner solicited MabVax to enter into
19   business with investors, whose investment was conditioned on MabVax retaining Kesner
20   and the Firm as counsel. Plaintiff MabVax contends that specific jurisdiction can be
21   established with allegations of malpractice or intentional torts committed during the
22   ongoing provision of professional services to a corporation headquartered in the forum
23   state.
24            Courts analyzing purposeful availment determine whether a defendant “performed
25   some type of affirmative conduct which allows or promotes the transaction of business
26   within the forum state.” Boschetto, 539 F.3d at 1016 (quoting Sher v. Johnson, 911 F.2d
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 1   1357, 1362 (9th Cir. 1990)). “[A] contract alone does not automatically establish minimum
 2   contacts in the plaintiff’s home forum.” Id. at 1017 (citing Burger King, 471 U.S. at 478).
 3   A contract corresponding to a “one-shot affair” type of transaction does not demonstrate
 4   purposeful availment absent “ongoing obligations,” “continuing commitments,” or
 5   “substantial business” in California. Id.
 6         In Sher, the Court of Appeals applied a purposeful availment analysis to determine
 7   whether there was personal jurisdiction in California over a Florida law partnership and
 8   individual firm partners. 911 F.2d at 1360, 1362. The plaintiff, a California resident, had
 9   brought malpractice claims against the defendants based on legal representation during
10   Florida criminal proceedings. Id. at 1360, 1364. The court explained,
11         Although some of Sher’s claims sound in tort, all arise out of Sher’s
           contractual relationship with the defendants. In such a case, the mere existence
12
           of a contract with a party in the forum state does not constitute sufficient
13         minimum contacts for jurisdiction. . . . Instead, we must look to “prior
           negotiations and contemplated future consequences, along with the terms of
14
           the contract and the parties’ actual course of dealing” to determine if the
15         defendant's contacts are “substantial ” and not merely “random, fortuitous, or
           attenuated.”
16
17   Id. at 1362 (quoting Burger King, 471 U.S. at 479–80).
18         In Sher, the plaintiff, his wife, and a California attorney, flew to Tampa for purposes
19   of “locat[ing] suitable Florida counsel to try the case.” Id. at 1360. The defendants were
20   selected and retained as counsel following “numerous” interviews. Id. The plaintiff gave
21   one of the partners a retainer check at the Tampa Airport. Id. The defendants mailed the
22   retainer agreement details to the plaintiff in California. Id. The plaintiff signed the letter
23   and mailed it back to Florida. Id. The defendants sent bills to the plaintiff California. Id.
24   The plaintiff’s wife sent checks, drawn on a California bank, to Florida to pay those bills.
25   Id. “To secure these payments, and pursuant to the retainer agreement, the Shers executed
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 1   a deed of trust and promissory note in favor of the [law firm], encumbering the Shers’
 2   residence in Los Angeles in the amount of $75,000.” Id.
 3         The court stated that the alleged jurisdictional contacts of individual partners were
 4   attributable to the partnership when in the scope of the partnership’s ordinary business. Id.
 5   at 1362. The court stated,
 6         As normal incidents of this representation the partnership accepted payment
           from a California bank, made phone calls and sent letters to California. These
 7
           contacts, by themselves, do not establish purposeful availment; this is not the
 8         deliberate creation of a “substantial connection” with California . . . nor is it
           the promotion of business within California. For one thing, the business that
 9
           the partnership promoted was legal representation in Florida, not California.
10         Moreover, the partnership did not solicit Sher’s business in California; Sher
           came to the firm in Florida. There is no ‘substantial connection’ with
11
           California because neither the partnership nor any of its partners undertook
12         any affirmative action to promote business within California. . . .
           Out-of-state legal representation does not establish purposeful availment of
13
           the privilege of conducting activities in the forum state, where the law firm is
14         solicited in its home state and takes no affirmative action to promote business
           within the forum state.
15
16   Id. at 1362–63 (quoting Burger King, 471 U.S. at 475). The court stated that a partner’s
17   trips to California did not “create a ‘substantial connection’ with California”:
18         [I]n the context of the “parties’ actual course of dealing” . . . the partnership
           was [not] availing itself of any significant California privilege by coming into
19
           the state to talk to its client. The three trips to California were discrete events
20         arising out of a case centered entirely in Florida; they appear to have been
           little more than a convenience to the client, who would otherwise have had to
21
           travel to Florida.
22
     Id. at 1363 (quoting Burger King, 471 U.S. at 479). The court concluded, however, that
23
     the deed of trust executed for the partnership’s benefit was a significant contact with
24
     California adequate to support personal jurisdiction over the partnership, “looking at the
25
     partnership’s entire ‘course of dealing’ with the Shers . . . including the calls and letters,
26
     the trips and the deed.” Id. at 1363–64. The court concluded that there was not personal
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 1   jurisdiction over the individual partners, who were not beneficiaries of the deed of trust
 2   and had only California contacts incidental to the representation. Id. at 1366 (“[W]hile
 3   each partner is generally an agent of the partnership for the purpose of its business, he is
 4   not ordinarily an agent of his partners. Thus, a partner’s actions may be imputed to the
 5   partnership for the purpose of establishing minimum contacts, but ordinarily may not be
 6   imputed to the other partners.”).
 7         In this case, the Complaint alleges that Defendant Kesner was the partner with
 8   primary responsibility on the engagement with Plaintiff MabVax. The Complaint alleges
 9   that Defendant Kesner traveled to San Diego to solicit and perpetuate the engagement. The
10   Complaint alleges that on March 12, 2015, Plaintiff MabVax received a term sheet
11   requiring the engagement of Defendant Kesner and his associated law firm as a condition
12   of obtaining financing from the Investors. The Complaint alleges that on April 2, 2015,
13   pursuant to the financing agreement, Plaintiff executed an engagement letter with the Firm,
14   on terms dictated by the Firm. The Complaint alleges that the engagement letter provided
15   for representation on general securities matters and ongoing SEC reporting. The Complaint
16   alleges that the engagement letter included a limited waiver based on the Firm’s existing
17   representation of certain Investors. The Complaint alleges that Defendant Kesner is one of
18   the Investors and solicited a $25,000 investment from Defendant Michael Ference. The
19   Complaint alleges that on April 14, 2018, Defendant Kesner sent Plaintiff an email
20   proposing an additional project to respond to Plaintiff’s SEC investigation. The Complaint
21   alleges that the Firm acknowledges conflicts of interest and withdrew from representing
22   Plaintiff in May 2018. The Complaint alleges that Firm employees and Defendant Kesner
23   met with and made false and misleading statements to successor counsel. The Complaint
24   alleges that the Firm and Defendant Kesner demanded a large legal fee as a condition of
25   responding to the questions of successor counsel.
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 1          The Sichenzia Defendants provide a document stating that the Firm is registered as
 2   a limited liability partnership with the New York Department of State Division of
 3   Corporations. (ECF No. 27-11 at 44).1 The Sichenzia Defendants provide the declaration
 4   of Defendant Gregory Sichenzia, “a member of the Firm since it was formed” in 1998.
 5   (Sichenzia Decl. ¶ 2, ECF No. 27-8 at 2). Defendant Sichenzia states in the declaration
 6   that he has performed legal work in New York for other California clients that he met at
 7   conferences in California. Id. ¶ 5. Defendant Sichenzia states he did not perform work for
 8   Plaintiff and did not have contact with any representative of Plaintiff. Id. The Sichenzia
 9   Defendants provide the declaration of Tara Guarneri-Ferrara, a partner of the Firm.
10   (Guarneri-Ferrara Decl. ¶ 3, ECF No. 27-4 at 2). Defendant Guarneri-Ferrara states in the
11   declaration that she owns an interest in a vacation property in Palm Desert, California. Id.
12   ¶ 4. Defendant Guarneri-Ferrara states that in April 2015, she spent one work day at
13   Plaintiff MabVax’s headquarters “in an introductory manner when the Firm had just been
14   retained.” Id. ¶ 5. Defendant Guarneri-Ferrara states that she has performed legal work in
15   New York for other California clients. Id.
16          The Sichenzia Defendants provide the declaration of Defendant Michael Ference, a
17   partner of the Firm. (Ference Decl. ¶ 3, ECF No. 27-7 at 2). Defendant Ference states in
18   the declaration, “Nearly all of the legal work I perform at the Firm is performed in the State
19   of New York.” Id. Defendant Ference states, “For the past 20 or so years, I may have been
20   admitted pro hac vice solely for the purpose of participating in an arbitration in California.”
21   Id. ¶ 5. Defendant Ference states that he did not perform work for Plaintiff and did not
22   have contact with any representative of Plaintiff. Id. ¶ 7. The Sichenzia Defendants
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     1
       The Sichenzia Defendants request judicial notice of Plaintiff’s state court complaint, which Defendants
25   previously removed to this Court. The Sichenzia Defendants request judicial notice of a printout of the
     Firm’s registration with the New York Department of State Division of Corporations. Plaintiff has not
26
     filed an opposition to the requests for judicial notice. The requests for judicial notice are granted. See
27   Fed. R. Evid. 201; Intri-Plex Techs., Inc. v. Crest Grp., Inc., 499 F.3d 1048, 1052 (9th Cir. 2007).
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 1   provide the declaration of Defendant Marc Ross, a partner of the Firm. (Ross Decl. ¶ 3,
 2   ECF No. 27-6 at 2). Defendant Ross states in the declaration, “I recall seeking to appear
 3   and appearing at a private mediation for a New York client in the State of California in or
 4   about May 2010.” Id. ¶ 5. Defendant Ross states that he did not perform work for Plaintiff
 5   and did not have contact with any representative of Plaintiff. Id.
 6         The Sichenzia Defendants provide the declaration of Defendant Thomas Rose, a
 7   partner of the Firm. (Rose Decl. ¶ 3, ECF No. 27-5 at 2). Defendant Rose states in the
 8   declaration that he “performed approximately three hours of work for [Plaintiff] after it
 9   became a client of the Firm.” Id. ¶ 7. Defendant Rose states that he did not have contact
10   with any representative of Plaintiff. Id. ¶ 7.
11         The Sichenzia Defendants provide the declaration of Defendant Richard Babnick, a
12   partner of the Firm. (Babnick Decl. ¶ 3, ECF No. 27-3 at 2). Defendant Babnick states in
13   the declaration, “Between May 2016 and April 2017, I appeared as pro hac vice counsel
14   for non-California residents Frank and Michelle Mazzola in an action filed by the [SEC]
15   in the U.S. District Court for the Northern District of California . . . . I attended a motion
16   argument in Federal Court in California, and I attended a half-day Court-Ordered
17   Settlement Conference in California.” Id. ¶ 6. Defendant Babnick states that he did not
18   have contact with any representative of Plaintiff. Id. ¶ 7. Defendant Babnick states that he
19   performed 4.7 hours of legal work for Plaintiff related to the SEC investigation. Id.
20         The Sichenzia Defendants provide the declaration of Defendant David Manno, a
21   partner of the Firm. (Manno Decl. ¶ 3, ECF No. 27-9 at 2). Defendant David Manno states
22   in the declaration, “I do perform work for clients of the Firm that are located in California
23   but the work is performed entirely within the state of New York.” Id. ¶ 5. Defendant
24   Manno states that the work he performed for Plaintiff MabVax “was performed from the
25   Firm’s New York office.” Id. ¶ 7. The Sichenzia Defendants provide the declaration of
26   Defendant Avital Perlman, a partner of the Firm. (Perlman Decl. ¶ 3, ECF No. 27-10 at
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 1   2). Defendant Avital Perlman states in the declaration, “I do perform work for clients of
 2   the Firm that are located in California but the work is performed entirely within the state
 3   of New York.” Id. ¶ 5. Defendant Perlman states that the work she performed for Plaintiff
 4   MabVax “was performed from the Firm’s New York office.” Id. ¶ 7.
 5         Defendant Kesner provides his declaration. (Kesner Decl., ECF No. 28-2 at 2).
 6   Defendant Kesner states in the declaration, “I was admitted pro hac vice in the United
 7   States District Court for the Northern District of California in one case on behalf of a non-
 8   California client to merely enforce a settlement agreement.” Id. ¶ 9. Defendant Kesner
 9   states, “From April 2015 through May 2018, while practicing law at the Sichenzia Firm, I
10   represented Plaintiff MabVax . . . a Delaware corporation with its principal office in San
11   Diego, California.” Id. ¶ 10. Defendant Kesner states that he met with representatives of
12   Plaintiff MabVax three times in California. Id. ¶ 13. The declaration provides:
13         14. The first two meetings were in March 2015 when I was attending the Roth
           Conference in Dana Point, California. During the conference, I was
14
           introduced to two individuals associated with MabVax and we talked for
15         about one hour over lunch. At the time, I was representing an investment bank
           and an investor who were interested in MabVax and who had set up the lunch
16
           meeting to introduce me to MabVax. . . . I did not travel to California for the
17         purpose of meeting with MabVax and this was the first time I had met any
           representatives of MabVax. The second time I met with representatives from
18
           MabVax in California was shortly after the first meeting. . . . My clients had
19         decided to pursue an investment in MabVax and I met with two
           representatives from MabVax to discuss terms. . . . The third time I met with
20
           MabVax representatives in California was approximately one year after
21         MabVax engaged the [Firm], but my meeting with them was social over lunch
           while I was again in California attending a Roth conference which MabVax
22
           also attended . . . . The third meeting was not business related and was for the
23         purpose of introducing MabVax to a third-party as a potential service provider
           and lasted roughly one hour.
24
           15. About three weeks after my second meeting with MabVax, MabVax
25         engaged the [Firm] for the specified purposes set forth in an initial
           engagement letter signed with Plaintiff . . . . During the course of the [Firm’s]
26
           representation, MabVax signed several engagement agreements with the
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 1          [Firm]. The engagement agreements between MabVax and the [Firm] were
            negotiated and executed remotely. While I was in New York, I discussed the
 2
            terms of the engagement agreements over the telephone with David Hansen .
 3          . . and Gregory Hansen . . . who were in California, and by email. I emailed
            the engagement agreements to them and they emailed signed copies back to
 4
            me. . . .
 5          25. In 2017, MabVax failed to pay attorneys’ fees owing to the [Firm].
            26. On July 31, 2017, MabVax and the [Firm] entered into a Fee Conversion
 6
            Agreement pursuant to which the [Firm] agreed to a partial reduction in fees
 7          in exchange for 46,574 shares of MabVax’s common stock as payment.
 8
     Id. ¶¶ 13–15, 25–26. The declaration is supported by a March 2015 engagement letter that
 9
     has signature lines for Hansen and Defendant Kesner and shows Hansen’s signature. (ECF
10
     No. 28-3 at 4). The engagement letter states, “We look forward to representing [Plaintiff]
11
     in connection with general corporate and securities matters, including matters related to
12
     ongoing SEC reporting.” Id. at 1. In addition, the declaration is supported by a July 31,
13
     2017 document titled “Fee Conversion Agreement” that has signature lines for Hansen and
14
     Defendant Kesner and shows Hansen’s signature.           (ECF No. 28-4 at 4).       The Fee
15
     Conversion Agreement provides:
16
            WHEREAS, as of May 19, 2017, [Plaintiff] owed $80,000 in legal fees to [the
17          Firm] for work relating to the [Plaintiff’s] public offering of common stock
            and Series G Preferred Stock (the “Outstanding Fees”);
18
            WHEREAS, [Plaintiff] wishes to satisfy the Outstanding Fees due to [the
19          Firm];
            NOW, THEREFORE, in consideration of the foregoing promises, [Plaintiff]
20
            and [the Firm] hereby agree as follows:
21          1. On the Effective Date, [Plaintiff] shall issue to [the Firm] 46,574 shares of
            common stock (the “Shares”).
22
            2. Effective upon the issuance of the Shares by [Plaintiff] to [the Firm], [the
23          Firm] shall, as a courtesy, write-off and forgive the remainder of the
            Outstanding Fees.
24
25   Id. at 1.
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 1         Plaintiff provides the declaration of David Hansen, Plaintiff’s chief executive
 2   officer. (Hansen Decl. ¶ 2, ECF No. 29-1). Hansen states in the declaration that Plaintiff
 3   “is, and at all relevant times was, headquartered in San Diego, California” and that Plaintiff
 4   “does not maintain offices in any state other than California.” Id. ¶ 3. Hansen states that
 5   he “attended the Roth Capital Partners Growth Stock Conference in Laguna Niguel,
 6   California,” with Plaintiff’s chief financial officer, Gregory Hanson. Id. ¶ 4. Hansen states
 7   than he and Hanson met with John Stetson to discuss a possible investment by Stetson and
 8   other investors. Id. ¶ 4. Hansen states, “Mr. Stetson informed us that, as a condition of the
 9   investment, [Plaintiff] would be required to retain the [Firm] and its partner, [Defendant]
10   Kesner.” Id. ¶ 5. Hansen states that Stetson introduced Hansen and Hanson to Defendant
11   Kesner at the conference. Id. ¶ 6. Hansen states that Hansen and Hanson later met alone
12   with Defendant Kesner. Id. Hansen states that on March 12, 2015, shortly after meeting
13   Defendant Kesner, “we received a formal term sheet from Mr. Stetson.” Id. ¶ 7. The
14   declaration is supported by an exhibit of a document titled “Term Sheet for Investment and
15   Recapitalization.” (Ex. A to Hansen Decl., ECF No. 29-1 at 6). The document states,
16         The purpose of this letter is to set forth the indicative terms pursuant to which
           [Plaintiff] . . . would recapitalize via an equity investment and exchange of
17
           outstanding Preferred stock and Warrants. The terms and conditions set forth
18         herein are for discussion with HS Contrarian Investments, LLC and certain
           other securityholders . . . and are non-binding unless and until a definitive
19
           agreement outlining all of the terms has been mutually signed. This letter . . .
20         represents the good faith intentions of the Parties to enter into a definitive
           binding agreement representing the terms herein; and this letter does not
21
           constitute an offer or contract.
22
     Id. The document contains a “Counsel” section, which states:
23
           Following closing, [Plaintiff] will engage the firm with which Harvey Kesner,
24
           Esq. is associated, as [Plaintiff’s] counsel (the “Firm”) for corporate securities
25         for a minimum 12 months period following closing; [Plaintiff] acknowledges
           the Firm is presently counsel to the lead investor, which shall provide the Firm
26
           customary conflict waivers to be provided by the investors, as requested.
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 1
     Id. at 7–8. The document is dated March 13, 2015 and signed by Hansen and Stetson. Id.
 2
     at 8.2
 3
              The record shows Defendant Kesner traveled to a conference in California, during
 4
     which Defendant Kesner met representatives of Plaintiff, after which Plaintiff engaged the
 5
     services of the Firm and Defendant Kesner. Defendant Kesner took measures to develop
 6
     the relationship with Plaintiff, whose principal place of business is in California.
 7
     Defendant Kesner sent Plaintiff the engagement agreement, which indicates a space for
 8
     Kesner’s signature, and which expressly references “ongoing” services to Plaintiff, whose
 9
     principal place of business is in California.              See ECF No. 28-3 at 1.              The record
10
     demonstrates that Defendant Kesner has “substantial connection” with California that are
11
     not “random, fortuitous, or attenuated,” such that Defendant Kesner purposefully availed
12
     himself of the “privilege of conducting activities” in California. See Sher, 911 F.2d at 1363
13
     (quoting Burger King, 471 U.S. at 479). The record in this case shows the client
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     relationship began under different circumstances than Sher, “where the law firm is solicited
15
     in its home state and takes no affirmative action to promote business within the forum
16
     state.” See id. Defendant Kesner’s actions fall within the ordinary scope of law firm
17
     business and are imputed to the Firm in this case. See id. at 1366 (“[W]hile each partner
18
19
20   2
       The Sichenzia Defendants move to strike portions of the Hansen Declaration and Plaintiff’s response in
     opposition to the motion to dismiss. (ECF No. 30-1 at 2). The Sichenzia Defendants assert that the Hansen
21   Declaration includes nonjurisdictional facts and that Plaintiff’s response references facts that lack
     foundation and relevance. The Sichenzia Defendants contend that such facts require the Court to treat
22
     Defendants’ 12(b)(6) motion as a motion for summary judgment. Plaintiff contends that the challenged
23   portions of the Hansen Declaration and response are properly considered in the jurisdictional analysis.
     The Court finds that the Sichenzia Defendants fail to set forth proper grounds to grant the motion to strike.
24   See Doe v. Unocal Corp., 248 F.3d 915, 922 (9th Cir. 2001) (stating that“[t]he court may consider
     evidence presented in affidavits to assist it in its determination” of personal jurisdiction), abrogated on
25   other grounds as recognized by Williams v. Yamaha Motor Co., 851 F.3d 1015, 1024 (9th Cir. 2017); see
     also Neveau v. City of Fresno, 392 F. Supp. 2d 1159, 1170 (E.D. Cal. 2005) (noting that motions to strike
26
     are generally disfavored); S.E.C. v. Sands, 902 F. Supp. 1149, 1166 (C.D. Cal. 1995) (“[C]ourts are
27   reluctant to determine disputed or substantial questions of law on a motion to strike.”).
                                                          27
28                                                                                           18-cv-2494-WQH-AGS
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 1   is generally an agent of the partnership for the purpose of its business, he is not ordinarily
 2   an agent of his partners. Thus, a partner’s actions may be imputed to the partnership for the
 3   purpose of establishing minimum contacts, but ordinarily may not be imputed to the other
 4   partners.”).   In addition, the Firm is the beneficiary of an agreement that secures
 5   compensation for legal services with ownership of property based in California—
 6   specifically, ownership of shares in Plaintiff—and supports purposeful availment by the
 7   Firm in this case. See id. (concluding that securing partnership’s legal fees with a deed of
 8   trust on client’s California home demonstrated purposeful availment by the partnership).
 9   In this case, the “course of dealing,” including the calls and emails, the trips and the fee
10   conversion agreement, demonstrates that the partnership “invok[ed] the benefits and
11   protections” of the laws of California for purposes of jurisdiction. See id. at 1363–64.
12         The jurisdictional analysis for the individual Defendants does not require the Court
13   to distinguish New York and California agency and partnership law. See Sher, 911 F.2d at
14   1365 (“Liability and jurisdiction are independent. Liability depends on the relationship
15   between the plaintiff and the defendants and between the individual defendants;
16   jurisdiction depends only upon each defendant’s relationship with the forum.”) (citing
17   Shaffer v. Heitner, 433 U.S. 186, 204 & n.19 (1977)); see also Williams v. Yamaha Motor
18   Co., 851 F.3d 1015, 1024 (9th Cir. 2017) (“If an agency theory of imputable contacts
19   survives Daimler in the context of specific jurisdiction, then Walden’s directive that
20   contacts must be directly between the defendant and the forum is inapposite, because
21   imputing an in-state entity’s contacts to the defendant would necessarily establish that
22   direct connection.”) (citing Daimler AG v. Bauman, 571 U.S. 117 (2014), then citing
23   Walden, 571 U.S. at 286). The facts alleging wrongful conduct by the individual Sichenzia
24   Defendants occurred after the client relationship with Plaintiff MabVax was already
25   established and constituted “normal incidents of th[e] representation” that “by themselves,
26   do not establish purposeful availment.” See id. at 1362. Plaintiff fails to make a “prima
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 1   facie showing of jurisdictional facts” demonstrating purposeful availment on the part of
 2   any Defendant other than the Firm and Defendant Kesner. See Mavrix, 647 F.3d at 1223.
 3         B. Purposeful Direction
 4         The Court does not analyze purposeful direction as to the Firm or Defendant Kesner
 5   in light of the purposeful availment finding as to the Firm and Defendant Kesner. See
 6   Axiom, 874 F.3d at 1068 (“[T]he defendant must either “purposefully direct his activities”
 7   toward the forum or “purposefully avail[ ] himself of the privileges of conducting activities
 8   in the forum . . . .”) (emphasis added). The Court analyzes purposeful direction only as to
 9   the individual Sichenzia Defendants.
10         The Sichenzia Defendants assert that Plaintiff MabVax fails to show harm suffered
11   in California. The Sichenzia Defendants contend that Defendant Kesner’s actions can be
12   imputed to the Firm and not to the individual Sichenzia Defendants. The Sichenzia
13   Defendants contend that Plaintiff MabVax does not allege sufficient facts to demonstrate
14   that any individual Sichenzia Defendant committed an intentional tort or act in California,
15   expressly aimed wrongful conduct at California, or knowingly caused harm that would be
16   suffered in California.
17         Plaintiff MabVax contends that the purposeful direction analysis governs personal
18   jurisdiction in this case rather than purposeful availment. Plaintiff MabVax asserts that the
19   Complaint alleges that Defendants committed intentional torts, satisfying the intentional
20   act requirement. Plaintiff MabVax asserts, “No one provides legal services accidentally.”
21   (ECF No. 29 at 32). Plaintiff MabVax contends that the express aiming requirement can
22   be satisfied by alleging that Defendants committed intentional torts against a known
23   resident of California, and that “[n]othing in Walden v. Fiore, 134 S. Ct. 1115 (2014)
24   changes this result.” (ECF No. 29 at 33). Plaintiff MabVax contends that the causation
25   requirement is satisfied because a corporation incurs economic loss in the forum of its
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 1   principal place of business, and Plaintiff MabVax’s principal place of business is in
 2   California.
 3         To satisfy the purposeful direction test, “[t]he defendant must have “(1) committed
 4   an intentional act, (2) expressly aimed at the forum state, (3) causing harm that the
 5   defendant knows is likely to be suffered in the forum state.” Axiom, 874 F.3d at 1068
 6   (quotation omitted). Courts “construe ‘intent’ in the context of the ‘intentional act’ test as
 7   referring to an intent to perform an actual, physical act in the real world.” Schwarzenegger,
 8   374 F.3d at 806. In this case, Plaintiff MabVax alleges that all Defendants participated in
 9   failing to timely and fully disclose conflicts of interest, disclosing confidential
10   communications, or providing improper legal advice. Plaintiff MabVax has adequately
11   alleged an intentional act as to all Defendants.
12         The express aiming prong of purposeful direction requires a plaintiff to show an
13   intentional act aimed at California. Schwarzenegger, 374 F.3d at 806. A plaintiff must
14   demonstrate that California is the “focal point” of both the claims and the harm suffered.
15   Axiom, 874 F.3d at 1070–71 (quoting Walden, 571 U.S. at 288). A plaintiff must
16   demonstrate that “the effects caused by the defendants’ [conduct]—i.e., the injury to the
17   plaintiff[] . . . —connected the defendants’ conduct to California, not just to a plaintiff who
18   lived there.” Walden, 571 U.S. at 288. Courts “must focus on the defendant’s contacts
19   with the forum state, not the defendant’s contacts with a resident of the forum.” Picot v.
20   Weston, 780 F.3d 1206, 1214 (9th Cir. 2015). A plaintiff does not demonstrate express
21   aiming if “none of [the] challenged conduct ha[s] anything to do with California itself.”
22   Id. at 1215 (original alterations omitted). A plaintiff can no longer demonstrate hat a
23   defendant expressly aimed at the forum state by alleging only that the defendant knew of
24   the plaintiff’s forum connections and could have reasonably foreseen harm in that forum.
25   Axiom, 874 F.3d at 1069–70 (“In Walden, the Supreme Court rejected our conclusion that
26   the defendants’ “knowledge of [the plaintiffs’] ‘strong forum connections,’” plus the
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 1   “foreseeable harm” the plaintiffs suffered in the forum, comprised sufficient minimum
 2   contacts. . . .”).
 3          The record shows that in February and March 2018, Defendant Gregory Sichenzia
 4   sent and received emails with other partners at the Firm in response to critical news stories
 5   and possible lawsuits. The record shows that in April 2015, Defendant Tara Guarneri-
 6   Ferrara traveled to Plaintiff MabVax’s headquarters after Plaintiff MabVax had engaged
 7   the Firm as counsel.     The Complaint alleges that Guarneri-Ferrara was involved in
 8   communications related to improper disclosure and use of Plaintiff MabVax’s confidential
 9   information regarding the equity position of the Investors. The Court finds that the
10   challenged conduct of Defendants Sichenzia and Guarneri-Ferrara is connected “to a
11   plaintiff who live[s] [in California].” See Walden, 571 U.S. at 288. Plaintiff MabVax fails
12   to demonstrate that Sichenzia’s or Guarneri-Ferrara’s “challenged conduct ha[s] anything
13   to do with California itself.” See Picot, 780 F.3d at 1215 (original alterations omitted).
14   The Court need not determine whether specific personal jurisdiction as to Defendants
15   Sichenzia and Guarneri-Ferrara is lacking for alternative reasons. See Picot, 780 F.3d at
16   1215 n.4 (“Because Picot has not established the second prong of our purposeful direction
17   test, we need not address the third prong.”).
18          The Complaint alleges that in February and March 2018, Defendant Michael Ference
19   and Defendant Marc Ross sent and received emails with other partners at the Firm in
20   response to critical news stories and possible lawsuits. The Complaint alleges that Ference
21   is an Investor. The Complaint alleges that in April 2018, Ross sent and received emails
22   with other Firm employees in response to Plaintiff MabVax’s SEC investigation and
23   conflicts of interest. The Complaint alleges that in May 2018, Ross advocated that the
24   Firm refuse to meet with Plaintiff MabVax’s successor counsel. The Court finds that the
25   challenged conduct of Defendants Ference and Ross is connected to a plaintiff who lives
26   in California. Plaintiff MabVax fails to demonstrate that Ference’s or Ross’s challenged
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 1   conduct has anything to do with California itself. The Court need not determine whether
 2   specific personal jurisdiction as to Defendants Ference and Ross is lacking for alternative
 3   reasons.
 4         The Complaint alleges that Defendant Thomas Rose was involved in
 5   communications related to improper use of Plaintiff MabVax’s confidential information
 6   regarding the equity position of the Investors. The Complaint alleges that in March 2018,
 7   Rose sent and received emails with other partners at the Firm in response to critical news
 8   stories and possible lawsuits. The Complaint alleges that in April 2018, Rose sent and
 9   received emails with other Firm employees in response to Plaintiff MabVax’s SEC
10   investigation and conflicts of interest. The Court finds that the challenged conduct of
11   Defendant Rose is connected to a plaintiff who lives in California. Plaintiff MabVax fails
12   to demonstrate that Rose’s challenged conduct has anything to do with California itself.
13   The Court need not determine whether specific personal jurisdiction as to Defendant Rose
14   is lacking for alternative reasons.
15         The Complaint alleges that in April 2018, Defendant Richard Babnick sent and
16   received emails with other Firm employees in response to Plaintiff’ MabVax’s SEC
17   investigation and conflicts of interest. The Complaint alleges that Defendant David Manno
18   was involved in communications related to improper use of Plaintiff MabVax’s
19   confidential information regarding the equity position of the Investors. The Complaint
20   alleges that Defendant Avital Perlman sent and received emails in response to regulatory
21   inquiries regarding the identity of Investors. The Court finds that the challenged conduct
22   of Defendants Babnick, Manno, and Perlman is connected to a plaintiff who lives in
23   California. Plaintiff MabVax fails to demonstrate that Babnick’s, Manno’s, or Perlman’s
24   challenged conduct has anything to do with California itself. The Court need not determine
25   whether specific personal jurisdiction as to Defendants Babnick, Manno, and Perlman is
26   lacking for alternative reasons.
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 1         The motion to dismiss for lack of personal jurisdiction under Rule 12(b)(2) is granted
 2   as to Defendants Gregory Sichenzia, Michael Ference, Tara Guarneri-Ferrara, Marc Ross,
 3   Thomas Rose, Richard Babnick, David Manno, and Avital Perlman. The Court evaluates
 4   the remaining two prongs of specific jurisdiction, relatedness and reasonableness, only as
 5   to the Firm and Defendant Kesner.
 6         C. Forum-Related Activities
 7         The Sichenzia Defendants assert that the Firm’s contacts did not cause Plaintiff
 8   MabVax’s alleged injury because the Firm did not initiate the California meetings between
 9   Plaintiff MabVax’s representatives and Defendant Kesner. Defendant Kesner asserts that
10   Plaintiff MabVax cannot show that the injuries in this case would not have occurred but
11   for Defendant Kesner’s activities in California. Defendant Kesner asserts that Plaintiff
12   MabVax’s claims arise from legal services provided in New York regarding reporting
13   requirements under federal law and Delaware law. Plaintiff MabVax asserts that this action
14   arises from all of the alleged jurisdictional contacts by Defendants. Plaintiff MabVax
15   asserts that the harms suffered in this case would not have occurred but for the conduct of
16   Defendants.
17         The plaintiff has the burden to make a prima facie showing that the claims “arise[]
18   out of or relate[] to the defendant’s forum-related activities.” Picot, 780 F.3d at 1211.
19   Courts apply the “but for” test, which requires a plaintiff to demonstrate “that [the plaintiff]
20   would not have suffered an injury ‘but for’ [the defendant’s] forum-related conduct.”
21   Menken v. Emm, 503 F.3d 1050, 1058 (9th Cir. 2007).
22         In this case, Plaintiff MabVax’s claims generally arise from the alleged financial
23   injuries caused by the wrongful conduct of the Firm and Defendant Kesner in the course
24   of the representation. Plaintiff MabVax alleges that the Firm and Defendant Kesner
25   provided improper legal advice regarding Plaintiff MabVax’s reporting obligations with
26   respect to the Investors, including Defendant Kesner. Plaintiff MabVax alleges that Firm
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 1   partners and Defendant Kesner obtained Plaintiff MabVax’s confidential information in
 2   the course of the representation and improperly disclosed or otherwise used that
 3   information. The Court concludes that Plaintiff MabVax’s causes of action arise out of or
 4   relate to the Firm’s and Defendant Kesner’s forum-related activities. Plaintiff MabVax has
 5   carried the burden to satisfy the first two prongs of personal jurisdiction analysis.
 6   Accordingly, the burden now shifts to the Firm and Defendant Kesner to demonstrate that
 7   the exercise of jurisdiction would not be reasonable. See id. at 1060.
 8         D. Reasonableness
 9         “The final requirement for specific jurisdiction . . . is reasonableness. For jurisdiction
10   to be reasonable, it must comport with fair play and substantial justice.” Bancroft &
11   Masters, Inc. v. Augusta Nat’l Inc., 223 F.3d 1082, 1088 (9th Cir. 2000), overruled in part
12   on other grounds by Yahoo! Inc. v. La Ligue Contre Le Racisme Et L’Antisemitisme, 433
13   F.3d 1199, 1207 (9th Cir. 2006), as recognized by Delphix Corp. v. Embarcadero Techs.,
14   Inc., 749 F. App’x 502, 506 (9th Cir. 2018). The defendant bears the burden to demonstrate
15   unreasonableness and must “present a compelling case that the presence of some other
16   considerations would render jurisdiction unreasonable.” Burger King, 471 U.S. at 477.
17   Courts consider the following factors when evaluating reasonableness:
18         (1) the extent of the defendant’s purposeful interjection into the forum state,
           (2) the burden on the defendant in defending in the forum, (3) the extent of
19
           the conflict with the sovereignty of the defendant’s state, (4) the forum state’s
20         interest in adjudicating the dispute, (5) the most efficient judicial resolution
           of the controversy, (6) the importance of the forum to the plaintiff’s interest
21
           in convenient and effective relief, and (7) the existence of an alternative
22         forum.
23
     Bancroft, 223 F.3d at 1088 (citing Burger King, 471 U.S. at 476–77). “None of the factors
24
     is dispositive in itself; instead, [courts] must balance all seven.” Core-Vent Corp. v. Nobel
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     Indus. AB, 11 F.3d 1482, 1488 (9th Cir. 1993). The seventh factor, “[w]hether another
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 1   reasonable forum exists[,] becomes an issue only when the forum state is shown to be
 2   unreasonable.” Sinatra v. Nat’l Enquirer, Inc., 854 F.2d 1191, 1201 (9th Cir. 1988).
 3         The Court concludes that the Firm and Defendant Kesner purposefully availed
 4   themselves of the California forum by Defendant Kesner developing a relationship with a
 5   California client while attending a conference in California, and by the Firm’s Fee
 6   Conversion Agreement. This factor weighs in favor of a determination that the exercise of
 7   personal jurisdiction is reasonable.
 8         With respect to the second factor, the Sichenzia Defendants assert that litigation in
 9   California would be a substantial burden because the Firm is headquartered in New York
10   and the Firm would be forced to incur considerable expenses. Defendant Kesner asserts
11   that all Defendants work in New York and reside in New York or New Jersey, except
12   Defendant Kesner, who resides in Florida and travels often to New York where he is
13   licensed and practices. Defendant Kesner asserts that all documents and records regarding
14   the legal services Plaintiff MabVax was provided are in New York at the Firm’s office.
15   Plaintiff asserts that “[a] plane flight from New York to San Diego is not enough” to
16   demonstrate a substantial burden or an inconvenience that violates due process.
17   Defendants have not established that they will experience a substantial burden at having to
18   litigate in California. See Menken, 503 F.3d at 1060 (quoting CE Distrib., LLC v. New
19   Sensor Corp., 380 F.3d 1107, 1112 (9th Cir. 2004)) (“Nevertheless, with the advances in
20   transportation and telecommunications and the increasing interstate practice of law, any
21   burden is substantially less than in days past.”); Panavision Int’l, L.P. v. Toeppen, 141 F.3d
22   at 1316, 1323 (9th Cir. 1998) (“A defendant’s burden in litigating in the forum is a factor
23   in the assessment of reasonableness, but unless the inconvenience is so great as to constitute
24   a deprivation of due process, it will not overcome clear justifications for the exercise of
25   jurisdiction.”) (quotation omitted). The Court concludes that this factor is neutral.
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 1         With respect to the third and fourth factors, the Sichenzia Defendants assert that
 2   California has little interest in this controversy because the lawyers in this case are licensed
 3   in New York and were hired to make SEC filings in New York. Defendant Kesner asserts
 4   that New York courts have a superior interest to California because the conduct at issue
 5   occurred in New York by New York attorneys, and because this case requires application
 6   of New York law. Defendant Kesner asserts that litigating this case in California could
 7   cause inconsistent outcomes based on New York SEC proceedings. Defendant Kesner
 8   asserts that California has no interest in protecting its citizens in this case because Plaintiff
 9   MabVax developed treatments in New York and hired New York counsel for New York
10   legal services. Plaintiff MabVax asserts that California law applies. Plaintiff MabVax
11   contends that the any conflict between California and New York law would be resolved
12   through choice of law rules, and creates no jurisdictional sovereignty interest conflict even
13   if New York law applies. Plaintiff MabVax asserts that California has a strong interest in
14   providing redress for its injured citizens. Although New York has some interest in
15   regulating the conduct of its attorneys, Plaintiff MabVax seeks to bring common law claims
16   and this case will be litigated in federal court regardless of forum state. Further, California
17   has an interest in the adjudication of a case arising from the alleged malpractice that harmed
18   a California business. These factors weigh in favor of finding that the exercise of personal
19   jurisdiction in a California forum is reasonable.
20         With respect to the fifth factor, the Sichenzia Defendants assert that the Southern
21   District of New York will provide the most efficient judicial resolution of this action
22   because New York law applies in this case and the Southern District of New York has 43
23   district judges. Defendant Kesner asserts that numerous potential witnesses reside in New
24   York, including scientists and directors of Plaintiff, regulators, and other organizations
25   involved in contracts with Plaintiffs. Defendant Kesner asserts that all of Defendants’
26   documents and records are located in New York, as is Plaintiff MabVax’s successor
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 1   counsel. Plaintiff MabVax asserts that there are as many critical witnesses in California,
 2   including Plaintiff MabVax’s officers and employees, as in New York, New Jersey, or
 3   Florida. The “most efficient judicial resolution of the controversy” factor “concerns the
 4   efficiency of the forum, particularly where the witnesses and evidence are likely to be
 5   located.” Caruth v. Int’l Psychoanalytical Ass’n, 59 F.3d 126, 129 (9th Cir. 1995). Given
 6   that witnesses and evidence relating to this matter are likely located in California, New
 7   York, New Jersey, and Florida, this factor does not weigh in favor of either party.
 8            With respect to the sixth factor, Defendant Kesner asserts that New York is equally
 9   convenient to Plaintiff MabVax as California. Defendant Kesner asserts that Plaintiff
10   MabVax’s core technology was developed and licensed in New York and that Plaintiff
11   MabVax’s executives frequently travel to and conduct business in New York. Plaintiff
12   MabVax asserts that it would be more convenient to litigate in California. For courts “in
13   this circuit, the plaintiff’s convenience is not of paramount importance.” Dole Foods Co.,
14   Inc. v. Watts, 303 F.3d 1104, 1116 (9th Cir. 2002); see Panavision, 141 F.3d at 1324 (“In
15   evaluating the convenience and effectiveness of relief for the plaintiff, we have given little
16   weight to the plaintiff’s inconvenience.”). This factor does not weigh in favor of either
17   party.
18            The Court concludes that Defendant Kesner and the Firm have not satisfied their
19   burden to present a compelling case that the exercise of personal jurisdiction in the
20   California forum would be unreasonable. See Panavision, 131 F.3d at 1324 (concluding
21   that the defendant “failed to present a compelling case that the district court’s exercise of
22   jurisdiction in California would be unreasonable.”); Menken, 503 F.3d at 1061 (“Weighing
23   these seven considerations, the balance of factors does not favor Tomerlin. . . . On balance,
24   Tomerlin has not presented a compelling case that the exercise of jurisdiction would not
25   comport with fair play and substantial justice and would thus be unreasonable.”); Ballard
26   v. Savage, 65 F.3d 1495, 1502 (9th Cir. 1995) (describing the “heavy burden of presenting
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 1   a ‘compelling case’ against jurisdiction”). The motion to dismiss for lack of personal
 2   jurisdiction under Rule 12(b)(2) is denied as to Defendant Sichenzia Ross Ference LLP
 3   and Defendant Kesner.
 4      IV.    VENUE
 5         The Firm and Defendant Kesner request that the Court transfer this case to the
 6   Southern District of New York under 28 U.S.C. § 1404. The Firm contends that the
 7   following factors favor transfer: (1) the retainer agreement was negotiated and executed
 8   remotely over telephone and email; (2) New York courts are well versed in securities law;
 9   (4, 5) all individual attorneys are subject to New York jurisdiction and New York has a
10   strong interest in the conducts of its attorneys; (6) litigation in New York would be less
11   costly for defense witnesses; and (8) all work was performed in New York and all
12   documents are located in New York, and all defense witnesses are located on the East
13   Coast. Defendant Kesner contends that venue is proper in New York because the legal
14   services underlying this action were rendered in New York. Defendant Kesner further
15   contends that the following factors weigh in favor of transfer: (1) the engagement and Fee
16   Conversion agreements were negotiated and executed remotely over telephone and email;
17   (2) New York courts are extremely knowledgeable and experienced with respect to federal
18   securities law issues relevant to this case, and the SEC chose to file an action against certain
19   of Plaintiff MabVax’s investors in New York; (3) the legal services at issue were provided
20   to Plaintiff MabVax outside California, reducing the importance of Plaintiff MabVax’s
21   choice of forum; (4, 5) Defendant Kesner lacks minimum contacts with California, Plaintiff
22   is a Delaware corporation whose only California contacts are Plaintiff MabVax’s
23   headquarters and the introduction to Defendant Kesner in California; (6) all Defendants
24   would incur significant expense to travel to California to travel; and (8) Plaintiff MabVax’s
25   executives frequently travel to and conduct business in New York, and most documentary
26   evidence is in New York.
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 1         Plaintiff MabVax contends that Defendants have not made the requisite strong
 2   showing that the convenience of the parties and the interests of justice strongly favor a
 3   transfer of venue to the Southern District of New York. Plaintiff MabVax contends that a
 4   strong showing has not been made with respect to the following factors: (1) the negotiations
 5   with the Investors who required Plaintiff MabVax to retain the Firm and Defendant Kesner
 6   occurred in California; (2) California law governs and, if New York law applied, federal
 7   courts routinely apply the law of nonforum states; (3) great weight is afforded to a
 8   plaintiff’s choice of forum, particularly when, as in this case, the plaintiff sues in the home
 9   forum and not in a representative capacity; (4) both parties have significant California
10   contacts because Defendants entered into a contract with a California business; (5) all of
11   Defendants’ California contacts relate to Plaintiff MabVax’s causes of action in this case;
12   (6) it would merely shift costs to litigate in California because Plaintiff’s key witnesses are
13   its senior executives, who are located in California; (8) Defendants have not shown that
14   any documentary proof cannot be digitized or electronically transmitted to this district.
15         “For the convenience of parties and witnesses, in the interest of justice, a district
16   court may transfer any civil action to any other district or division where it might have been
17   brought.” 28 U.S.C. § 1404(a). The purpose of § 1404(a) is to “prevent the waste of time,
18   energy, and money and to protect litigants, witnesses and the public against unnecessary
19   inconvenience and expense.” Van Dusen v. Barrack, 376 U.S. 612, 616 (1964) (internal
20   citations and quotation omitted). The statute requires a court to consider the convenience
21   of the parties and witnesses and the interests of justice. See Jones v. GNC Franchising,
22   Inc., 211 F.3d 495, 499 (9th Cir. 2000). Under § 1404(a), a district court may consider:
23         (1) the location where the relevant agreements were negotiated and executed,
           (2) the state that is most familiar with the governing law, (3) the plaintiff’s
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           choice of forum, (4) the respective parties’ contacts with the forum, (5) the
25         contacts relating to the plaintiff’s cause of action in the chosen forum, (6) the
           differences in the costs of litigation in the two forums, (7) the availability of
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 1         compulsory process to compel attendance of unwilling non-party witnesses,
           and (8) the ease of access to sources of proof.
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 3   Id. at 498–99. Relevant public policy is also a significant factor. Id. at 499. The party
 4   moving for transfer pursuant to § 1404(a) bears the burden of showing that another forum
 5   is more convenient and serves the interest of justice. See id. “The defendant must make a
 6   strong showing of inconvenience to warrant upsetting the plaintiff’s choice of forum.”
 7   Decker Coal Co. v. Commonwealth Edison Co., 805 F.2d 834, 843 (9th Cir. 1986). “Rather
 8   than relying on vague generalizations of inconvenience, the moving party must
 9   demonstrate, through affidavits or declarations containing admissible evidence, who the
10   key witnesses will be and what their testimony will generally include.” Cochran v. NYP
11   Holdings, Inc., 58 F. Supp. 2d 1113, 1119 (C.D. Cal. 1998) (citing Commodity Futures
12   Trading Comm’n v. Savage, 611 F.2d 270, 279 (9th Cir. 1979)).
13         Plaintiff MabVax’s choice of forum is entitled to some deference. See id.; see also
14   Cung Le v. Zuffa, LLC, 108 F. Supp. 3d 768, 779 (N.D. Cal. 2015) (“As already noted, the
15   majority of the named plaintiffs do not reside in this district, rendering their choice of forum
16   less significant.”). Plaintiff MabVax chose to bring this case in California, the state of
17   Plaintiff MabVax’s principal place of business. The causes of action in this litigation arise
18   from Plaintiff MabVax’s financial injuries. Based on the representations made by both
19   parties, witness travel will be required regardless of where this litigation occurs because
20   witnesses reside in California, New York, New Jersey, and Florida. See Decker Coal Co.,
21   805 F.2d at 843 (affirming denial of a motion to transfer where “[t]he transfer would merely
22   shift rather than eliminate the inconvenience”). Any difficulty the Firm and Defendant
23   Kesner may face in compelling the Firm’s own partners and employees to testify in
24   California is not a factor that weighs heavily in favor of transfer. See STX, Inc. v. Trik Stik,
25   Inc., 708 F. Supp. 1551, 1556 (N.D. Cal. 1988) (“[D]efendant’s claim that defense
26   witnesses could not be expected to appear at trial must be discounted since at least four of
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 1   the six witnesses are defendant’s employees whom defendant can compel to testify.”).
 2   Defendants provide the declarations of the individual Defendants in this case that state that
 3   New York is a more convenient forum than California. Defendants have shown that New
 4   York is a more convenient forum than California for some potential witnesses. Defendants
 5   have not set forth the identity or anticipated testimony of their key witnesses. See, e.g.,
 6   Amini Innovation Corp. v. JS Imports, Inc., 497 F. Supp. 2d 1093, 1111 (C.D. Cal. 2007)
 7   (“The convenience of witnesses is often the most important factor in determining whether
 8   a transfer pursuant to § 1404 is appropriate.”); Barnstormers, Inc. v. Wing Walkers, LLC,
 9   No. 09CV2367 BEN (RBB), 2010 WL 2754249, at *2 (S.D. Cal. July 9, 2010). Relevant
10   business and legal records may be located in multiple states, including California, and
11   Defendants have not shown any anticipated difficulty related to the electronic transfer of
12   these records. The ease of access to key sources of proof is neutral.
13           The forum’s familiarity with the governing law is neutral and does not weigh in
14   favor of transfer under the facts of this case. Plaintiff MabVax contends that California
15   law applies and Defendants contend that New York law applies; regardless, Defendants
16   fail to demonstrate that this Court would face difficulty in applying New York law to the
17   facts of this case.
18           After weighing the § 1404(a) factors under the circumstances of this case, the Court
19   concludes that Defendants have not made “a strong showing of inconvenience . . . to
20   warrant upsetting the plaintiff’s choice of forum.” Decker Coal Co., 805 F.2d at 843. The
21   motion to transfer pursuant to § 1404(a) is denied.
22      V.      ADEQUACY OF PLEADINGS
23              A. Negligent Professional Practice, Breach of Fiduciary Duty, Breach of
24                 Contract
25           The Firm contends that Plaintiff MabVax fails to plead damages because no alleged
26   facts show that misleading successor counsel, informing the Investors of a meeting with
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 1   successor counsel, or failing to disclose conflicts of interest resulted in any damages. The
 2   Firm asserts that the allegations of the Complaint are sufficient to infer only a risk that the
 3   alleged misrepresentations of Investor-related reporting requirements could violate
 4   securities laws. The Firm contends that Plaintiff MabVax fails to plead causation because
 5   the allegations in the Complaint demonstrate that Plaintiff MabVax’s delisting from
 6   Nasdaq and putative class action was caused by Plaintiff MabVax voluntarily disclaiming
 7   reliance on prior SEC filings and petitioning the Delaware Chancery Court to validate
 8   corporate acts. The Firm contends that under New York law, Plaintiff MabVax’s breach
 9   of fiduciary duty claim is subject to dismissal for relying on the same facts and damages
10   as the negligent professional practice claim. The Firm contends that the elements of breach
11   of contract are substantially the same under California and New York law. The Firm asserts
12   that Plaintiff MabVax fails to allege which specific contract terms were breached and
13   premises the breach of contract claim on the same allegations as the breach of fiduciary
14   duty and negligence claims. The Firm contends that under New York law, Plaintiff
15   MabVax’s breach of contract claim is subject to dismissal for relying on the same facts as
16   the negligent professional practice claim.
17         Plaintiff MabVax contends that causation and damages are adequately pled with the
18   allegations that Kesner’s deficient advice caused Plaintiff MabVax to be unable to rely on
19   the share count and weighted average number of shares used in earnings-per-share
20   calculations from previous SEC filings. Plaintiff MabVax asserts that the inability to rely
21   on previously reported information required Plaintiff MabVax to publicly disclaim reliance
22   on the affected filings, which caused the Nasdaq delisting, multiple stockholder
23   complaints, and an inability to raise capital. Plaintiff MabVax asserts that the inability to
24   rely on the previously reported information left Plaintiff MabVax with no choice but to
25   bring a Delaware Chancery Court action to validate prior stock issuances. Plaintiff
26   MabVax further contends that causation and damages are adequately pled with allegations
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 1   that Kesner’s disclosure and use of confidential information led to the Investors interfering
 2   with Plaintiff MabVax’s ability to obtain investment bank financing. Plaintiff MabVax
 3   asserts that the failure to disclose conflicts of interest wasted money and prevented
 4   competent counsel from assisting Plaintiff MabVax with the SEC investigation. Plaintiff
 5   MabVax contends that under California law the breach of fiduciary duty claim is distinct
 6   from the professional negligence claim. Plaintiff MabVax contends that New York law
 7   permits a breach of fiduciary claim and a malpractice claim because the Complaint alleges
 8   incompetence and outright disloyalty. Plaintiff MabVax contends that the allegations
 9   supporting the malpractice and breach of fiduciary duty claims also support the breach of
10   contract claim.
11         “The elements of a cause of action for attorney malpractice under California law are:
12   (1) the duty to use such skill, prudence and diligence as members of the profession
13   commonly possess; (2) breach of that duty; (3) a proximate connection between the breach
14   and the injury; and (4) actual loss or damage.” Loyd v. Paine Webber, Inc., 208 F.3d 755,
15   759 (9th Cir. 2000) (citing Wiley v. Cty. of San Diego, 966 P.2d 983, 985 (Cal. 1998)). A
16   plaintiff establishes causation by showing that the defendant’s conduct was a substantial
17   factor in bringing about the harm to the plaintiff. Mosier v. Stonefield Josephson, Inc., 815
18   F.3d 1161, 1167 (9th Cir. 2016) (quoting Williams v. Wraxall, 39 Cal. Rptr. 2d 658, 665
19   (Ct. App. 1995)). “The elements of a cause of action for breach of fiduciary duty are the
20   existence of a fiduciary relationship, breach of fiduciary duty, and damages.” Knutson v.
21   Foster, 236 Cal. Rptr. 3d 473, 486 (Ct. App. 2018) (quoting Oasis W. Realty, LLC v.
22   Goldman, 250 P.3d 1115, 1121 (Cal. 2011)). “A cause of action for breach of contract
23   requires proof of the following elements: (1) existence of the contract; (2) plaintiff’s
24   performance or excuse for nonperformance; (3) defendant’s breach; and (4) damages to
25   plaintiff as a result of the breach.” CDF Firefighters v. Maldonado, 70 Cal. Rptr. 3d 667,
26   679 (Ct. App. 2008) (citation omitted).
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 1         In this case, the Court finds that Plaintiff MabVax alleges facts supporting
 2   malpractice and breach of fiduciary duty claims under either California or New York law.
 3   See Knutson, 236 Cal. Rptr. 3d at 486 (noting that under California law, “breach of
 4   fiduciary duty . . . [i]s a species of tort distinct from causes of action for professional
 5   negligence”); Ulico Cas. Co. v. Wilson, Elser, Moskowitz, Edelman & Dicker, 56 A.D.3d
 6   1, 9 (N.Y. App. Div. 2008) (“Plaintiff’s . . . breach of fiduciary duty claim relates to
 7   defendant’s actions in helping [a competitor] set up a competing business, whereas the
 8   malpractice claim relates to its handling of the claims as plaintiff’s claims counsel.
 9   Therefore, the two claims are not premised on the same facts and seeking identical relief .
10   . . and both can be asserted.”). The Complaint alleges that Defendants had conflicts of
11   interest with respect to the Investors. The Complaint alleges that Defendants disclosed
12   confidential communications to the Investors without consent. The engagement letter
13   addresses confidentiality among the provisions on waiving conflicts of interest: “Such
14   waiver does not result in any waiver of the protections that are afforded to you or to the
15   Company with regard to attorney client communications with the Firm. Such
16   communications will remain confidential and will not be disclosed to any third party
17   without consent.” (ECF No. 28-3 at 2). Plaintiff MabVax adequately alleges facts to bring
18   both malpractice and breach of contract claims under either California or New York law.
19   See Stanley v. Richmond, 41 Cal. Rptr. 2d 768, 780 n.7 (1995) (“The proof that Richmond
20   violated the Rules of Professional Conduct and other fiduciary duties owed to her client is,
21   thus, sufficient to support a claim that Richmond’s conduct amounted to a breach of
22   contract as well.”); Saveca v. Reilly, 111 A.D.2d 493, 494–95 (N.Y. App. Div. 1985) (“An
23   action for breach of contract may be maintained in attorney-client agreements only when
24   there is a promise to perform and no subsequent performance, or when the attorney has
25   explicitly undertaken to discharge a specific task and then failed to do so . . . .”) (quotation
26   and alteration omitted). The Firm fails to identify a conflict between California and New
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 1   York law on the claims for negligent professional practice, breach of fiduciary duty, or
 2   breach of contract. The Court need not further address conflict of law issues. See
 3   Rosenthal v. Fonda, 862 F.2d 1398, 1400 (9th Cir. 1988) (“[T]he substantive law of each
 4   state must be examined to assure that the laws differ as applied to this transaction.”).
 5         The Complaint alleges that the Firm and Defendant Kesner were engaged to provide
 6   Plaintiff MabVax with legal representation. The facts alleged support a plausible inference
 7   that employees and partners of the Firm failed to adequately disclose conflicts of interest
 8   regarding Plaintiff MabVax’s representation.       The facts alleged support a plausible
 9   inference that the Firm and Defendant Kesner were involved in conveying Plaintiff
10   MabVax’s confidential communications to the Investors. The facts alleged support a
11   plausible inference that Defendant Kesner provided improper legal advice on SEC
12   reporting requirements with respect to the Investors. The facts alleged support a plausible
13   inference that the alleged conduct caused Plaintiff MabVax difficulties related to the SEC
14   investigation, publicly disclaiming reliance on previous SEC reports, and raising capital.
15   The Complaint alleges sufficient facts to demonstrate plausible claims for relief with
16   respect to Plaintiff MabVax’s negligent professional practice, breach of fiduciary duty, and
17   breach of contract claims.
18             B. Restitution for Unjust Enrichment
19         The Firm contends that Plaintiff MabVax fails to plead an unjust enrichment claim
20   because the allegations that the Firm’s retainer agreement was procured by fraud do not
21   satisfy Rule 9(b). The Firm contends that under California law, Plaintiff MabVax’s unjust
22   enrichment claim is subject to dismissal for relying on the same alleged conduct as the
23   negligent professional practice, breach of fiduciary duty, and breach of contract claims.
24         Plaintiff MabVax contends that the Firm’s failure to fully disclose the conflicts of
25   interest at issue in this case voids any contract between Plaintiff and the Firm, permitting
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 1   an unjust enrichment claim. Plaintiff MabVax asserts that payments of legal fees benefitted
 2   the partners of the Firm.
 3          California law provides no “standalone cause of action for ‘unjust enrichment,’
 4   which is synonymous with ‘restitution.’” Astiana v. Hain Celestial Group, Inc., 783 F.3d
 5   753, 762 (9th Cir. 2015) (first quoting Durell v. Sharp Healthcare, 108 Cal. Rptr. 3d 682,
 6   699 (Ct. App. 2010), then quoting Jogani v. Superior Court, 81 Cal. Rptr. 3d 503, 511 (Ct.
 7   App. 2008)).       However, “[w]hen a plaintiff alleges unjust enrichment, a court may
 8   “construe the cause of action as a quasi-contract claim seeking restitution.” Id. (“[U]njust
 9   enrichment and restitution . . . describe the theory underlying a claim that a defendant has
10   been unjustly conferred a benefit ‘through mistake, fraud, coercion, or request.’ . . . The
11   return of that benefit is the remedy ‘typically sought in a quasi-contract cause of action.’ .
12   . .”) (first quoting 55 Cal. Jur. 3d Restitution § 2, then quoting Rutherford Holdings, LLC
13   v. Plaza Del Rey, 166 Cal. Rptr. 3d 864, 872 (Ct. App. 2014)). In addition, “as a matter of
14   law, a quasi-contract action for unjust enrichment does not lie where . . . express binding
15   agreements exist and define the parties’ rights.” Cal. Med. Ass’n, Inc. v. Aetna U.S.
16   Healthcare of Cal., Inc., 114 Cal. Rptr. 2d 109, 125–26 (Ct. App. 2001).3
17          In this case, the facts alleged support a plausible inference that Plaintiff MabVax
18   retained the legal services of the Firm and Defendant Kesner without full knowledge of
19   conflicts of interest, that Defendant Kesner provided improper legal advice, and that the
20   Firm and Defendant Kesner were compensated for legal services. The Court finds that
21   Plaintiff MabVax states a claim for unjust enrichment. See Astiana, 783 F.3d at 762
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       The Firm identifies no conflict between California and New York law as applied to the unjust enrichment
     claim. The Court applies California law. See Pokorny v. Quixtar, Inc., 601 F.3d 987, 995 (9th Cir. 2010)
25   (“The party advocating the application of a foreign state’s law bears the burden of identifying the conflict
     between that state’s law and California’s law on the issue . . . .”); Rosenthal, 862 F.2d at 1400 (“[T]he
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     substantive law of each state must be examined to assure that the laws differ as applied to this
27   transaction.”).
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 1   (“[Plaintiff] alleged . . . [Defendant] had “entic[ed]” plaintiffs to purchase their products
 2   through “false and misleading” labeling, and that [Defendant] was ‘unjustly enriched’ as a
 3   result. This straightforward statement is sufficient to state a quasi-contract cause of
 4   action.”).
 5                C. Deceit and Fraud
 6         The Firm asserts that Plaintiff MabVax brings the deceit claim against the individual
 7   Defendants and the fraud claim against the Firm and Defendant Kesner, and that the two
 8   claims are otherwise identical. The Firm contends that the elements of a fraud claim are
 9   substantially the same under California and New York law. The Firm contends that
10   Plaintiff MabVax fails to satisfy the pleading requirements of Rule 9(b) because the
11   allegations group Defendants together. The Firm contends that the facts alleged are
12   insufficient to infer that the Defendants had a duty to disclose internal email discussions.
13   The Firm asserts that if there was a duty to disclose, Plaintiff MabVax fails to allege facts
14   sufficient to infer harm from the internal emails regarding conflicts of interest. The Firm
15   contends that Plaintiff MabVax fails to meet pleading requirements by alleging that the
16   Firm and Kesner misrepresented or concealed facts regarding: Defendants’ conflicts of
17   interest, Defendants’ disclosure of confidential information, and Defendants’ advice on
18   reporting requirements for Investors, particularly as the advice pertained to a preferred
19   stock conversion and regulator communications.
20         Plaintiff MabVax asserts that the Complaint pleads two particularized theories of
21   fraud against the Firm and Defendant Kesner: first, that the Firm and Defendant Kesner
22   induced Plaintiff to retain the representation without fully disclosing Kesner’s relationship
23   to the Investors; second, that the Firm and Defendant Kesner knowingly provided false
24   legal advice on reporting requirements for Investors based on Kesner’s knowledge and
25   concealment of his relationship with the Investors and Kesner’s knowledge of the securities
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 1   laws. Plaintiff MabVax contends that causation is adequately pled by alleging that Plaintiff
 2   MabVax would not have retained the Firm if the conflicts had been fully disclosed.
 3         The elements of a claim for fraud are: “(1) a misrepresentation, which includes a
 4   concealment or nondisclosure; (2) knowledge of the falsity of the misrepresentation, i.e.,
 5   scienter; (3) intent to induce reliance on the misrepresentation; (4) justifiable reliance; and
 6   (5) resulting damages.” Cadlo v. Owens-Illinois, Inc., 23 Cal. Rptr. 3d 1, 5 (Ct. App. 2004)
 7   (citing Small v. Fritz Cos., Inc., 65 P.3d 1255, 1258 (Cal. 2003)). “It is well-established in
 8   the Ninth Circuit that . . . claims for fraud . . . must meet Rule 9(b)’s particularity
 9   requirement.” Neilson v. Union Bank of Cal., 290 F. Supp. 2d 1101, 1141 (C.D. Cal. 2003).
10   Rule 9(b) requires that a complaint “state with particularity the circumstances constituting
11   fraud or mistake.” Fed. R. Civ. P. 9(b). Rule 9(b) “requires . . . an account of the time,
12   place, and specific content of the false representations as well as the identities of the parties
13   to the misrepresentations.” Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007)
14   (quotation omitted); see also Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir.
15   2003) (noting that averments of fraud must be accompanied by “the who, what, when,
16   where, and how of the misconduct charged”) (quotation omitted).
17         In this case, the Complaint alleges that the Firm and Defendant Kesner were engaged
18   to provide legal representation to Plaintiff MabVax. The facts alleged support a plausible
19   inference that the Firm and Defendant Kesner failed to adequately disclose conflicts of
20   interest. The facts alleged support a plausible inference that Defendant Kesner knowingly
21   provided improper legal advice regarding Plaintiff MabVax’s SEC reporting requirements
22   for the Investors. The Court finds that Plaintiff MabVax’s allegations state a fraud claim.
23      VI.    CONCLUSION
24         IT IS HEREBY ORDERED that the motion to dismiss for lack of personal
25   jurisdiction filed by the Sichenzia Defendants (ECF No. 27) is GRANTED as to
26   Defendants Richard J. Babnick, Jr, Michael Ference, Tara Guarneri-Ferrara, David B.
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 1   Manno, Avital Even-Shoshan Perlman, Thomas Rose, Marc Ross, and Gregory Sichenzia,
 2   and DENIED as to Defendant Sichenzia Ross Ference LLP. The motion to dismiss for
 3   lack of personal jurisdiction filed by Defendant Harvey Kesner is DENIED. (ECF No. 28).
 4   The Complaint is DISMISSED for lack of personal jurisdiction against all Defendants
 5   except Defendant Sichenzia Ross Ference LLP and Defendant Kesner.
 6         IT IS FURTHER ORDERED that the motion to transfer venue filed by Defendant
 7   Sichenzia Ross Ference LLP (ECF No. 27) and the motion to transfer venue filed by
 8   Defendant Kesner (ECF No. 28) are DENIED.
 9         IT IS FURTHER ORDERED that the motion to dismiss for failure to state a claim
10   and the motion to strike filed by Defendant Sichenzia Ross Ference LLP are DENIED.
11   (ECF No. 27; ECF No. 30-1).
12   Dated: May 9, 2019
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